                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WISCONSIN


Patrick Shaw, Debra Shaw, Haley Shaw,
on their own behalf and
on behalf of all others similarly situated,

               Plaintiffs,                                                 2:24-cv-157
                                                                 Case No. _____________
       v.                                                        JURY TRIAL DEMANDED

ADVOCATE AURORA HEALTH, INC.
and AURORA HEALTH CARE, INC.

               Defendants.


                                 CLASS ACTION COMPLAINT



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         Case 2:24-cv-00157-LA          Filed 02/05/24   Page 1 of 85      Document 1
                                                     TABLE OF CONTENTS

CLASS ACTION COMPLAINT......................................................................................................... 1

      I.       NATURE OF THE ACTION ............................................................................................ 1

      II.      PARTIES ........................................................................................................................... 6

               A.      Plaintiffs .................................................................................................................... 6

               B.      Defendants ................................................................................................................. 9

      III.     JURISDICTION AND VENUE ...................................................................................... 10

      IV.      OVERVIEW OF HOSPITAL/INSURANCE MARKETS AND CONSOLIDATION .. 10

               A.      Hospital/Insurance Negotiations Within a Functioning Market ............................. 10

               B. Hospital/Insurance Negotiations in a Market Distorted by Anticompetitive
               Behavior .......................................................................................................................... 15

      V.       RELEVANT MARKETS ................................................................................................ 20

               A.      Relevant Product Markets ....................................................................................... 21

               B.      Relevant Geographic Markets ................................................................................. 23

      VI.      AAH’S MARKET POWER ............................................................................................ 29

               A. AAH’s Ownership of “Must-Have” Hospitals Provides Its Enormous Market
               Power. .............................................................................................................................. 31

               B. AAH’s Ownership of Many Specialty Services in Eastern Wisconsin Increases Its
               Market Power. ..................................................................................................................32

      VII. AAH’S ANTICOMPETITIVE CONDUCT .................................................................... 33

               A. AAH Imposes “All Or Nothing” and “All Plans” Contract Language and Uses
               Other Tactics to Force Inclusion of Its Overpriced Hospitals in Insurance Networks. .. 33

               B.      AAH Punishes Innovative Insurance Products to Suppress Competition. .............. 37

               C.      AAH Engages In “Anti-Steering” and “Anti-Tiering.” .......................................... 39

               D. AAH Uses Non-Competes, Referral Restrictions, and Other Tactics To Suppress
               Competition and Increase Prices. .................................................................................... 43

               E. AAH Uses Gag Clauses to Suppress Competition and Further Its Other
               Anticompetitive Schemes. ............................................................................................... 46

                                                                         ii

             Case 2:24-cv-00157-LA                      Filed 02/05/24                Page 2 of 85               Document 1
        F.     The Combination of AAH’s Anticompetitive Conduct is Especially Harmful. ..... 47

        G. AAH’s Acquisition Strategy Suppresses Competition and Allows AAH to Impose
        Broader Anticompetitive Contractual Terms. ................................................................. 48

VIII.     AAH’S ANTICOMPETITIVE CONDUCT CAUSES ARTIFICIALLY INFLATED
          PRICES AND SUPPRESSES QUALITY. ................................................................... 59

        A.     AAH’s Prices Drive Costs for Commercial Health Plans and Their Members. ..... 59

        B.     AAH Charges Supracompetitive Prices in Milwaukee. .......................................... 60

        C.     AAH Charges Supracompetitive Prices in Green Bay. ........................................... 66

        D.     AAH Charges Supracompetitive Prices Throughout Wisconsin. ........................... 67

        E.     AAH Raised Prices In Illinois Substantially After the Merger. .............................. 68

IX.     CLASS ALLEGATIONS ................................................................................................ 69

        A.     Class Definition ....................................................................................................... 69

        B.     Certification Requirements ..................................................................................... 70

X.      CLAIMS FOR RELIEF ................................................................................................... 72

        COUNT ONE .................................................................................................................. 72

        COUNT TWO ................................................................................................................. 73

        COUNT THREE ............................................................................................................. 75

        COUNT FOUR ............................................................................................................... 76

        COUNT FIVE ................................................................................................................. 77

        COUNT SIX.................................................................................................................... 79

        COUNT SEVEN ............................................................................................................. 80

XI.     JURY DEMAND ............................................................................................................. 81

XII. PRAYER FOR RELIEF .................................................................................................. 81




                                                              iii

     Case 2:24-cv-00157-LA                     Filed 02/05/24              Page 3 of 85              Document 1
                                      CLASS ACTION COMPLAINT

           Plaintiffs Patrick Shaw, Debra Shaw, and Haley Shaw, individually and on behalf of all others

similarly situated (“Commercial Health Plan Members”), bring this action against Aurora Health Care,

Inc. and Advocate Aurora Health, Inc. (collectively, “AAH”) and state as follows:

I.         NATURE OF THE ACTION

            1.      This is an action for restraint of trade, unlawful monopolization, and unfair methods

     of competition seeking classwide injunctive relief under the Sherman Act, 15 U.S.C. §§ 1 et seq.

     and Wisconsin’s antitrust laws, Wis. Stat. §§ 133.01 et seq., as well as classwide damages under

     Wisconsin’s antitrust laws.

            2.      For the past several years, AAH has engaged in anticompetitive methods to restrain

     trade and abuse its market dominance for the purpose of foreclosing competition and extracting

     unreasonably high prices from Wisconsin commercial health plans and their members.1 These

     abuses include unlawfully forcing commercial health plans to include in their networks all of

     AAH’s overpriced facilities even if they would rather include only some, and aggressively

     blocking commercial health plans from directing their members to higher value care at non-AAH

     facilities. AAH has gone to extraordinary lengths to suppress innovative insurance products, such

     as tiered plans, that would reduce costs for commercial health plans and their members alike. And

     it has used a combination of acquisitions, referral restraints, non-competes, and gag clauses to

     suppress competition from other healthcare providers and expand its monopoly over acute

     inpatient hospital services into other, separate markets. Closely related allegations are made in this

     District in Uriel Pharmacy Health and Welfare Plan v. Advocate Aurora Health, Inc., No. 22-CV-




1
  To the extent the factual allegations are not based on publicly available sources, they are made upon
information and belief.
                                                        1

              Case 2:24-cv-00157-LA          Filed 02/05/24      Page 4 of 85      Document 1
610 (LA) (E.D. Wis.), and AAH’s motion to dismiss that action was denied in its entirety. See id.

Dkt. 31.

       3.       The supracompetitive prices AAH extracts from Wisconsin commercial health

plans are in turn passed on to their members in the forms of higher premium payments, and

members directly pay AAH higher deductible, co-pay, and co-insurance payments, resulting in

rising healthcare costs in Wisconsin. According to national academic studies and state-specific

research in Wisconsin, these rising healthcare costs are primarily driven by the rapidly increasing

prices charged by large hospital systems such as AAH, and which in turn are primarily driven by

consolidation among hospital providers.

       4.       There is a broad consensus among healthcare policy experts that consolidation of

hospitals escalates prices without resulting in corresponding increases in the quality of care

provided to patients or patient satisfaction. This is because hospital systems with greater market

power are able to extract higher prices by engaging in anticompetitive behavior, such as imposing

vertical restraints (i.e., the contractual provisions it forces on insurance companies) that leverage

the market power they have over one market to extract supracompetitive profits from other markets

in which the systems face greater competition.

       5.       AAH has used its vast market power to engage in anticompetitive behavior that

allows it to charge extremely high prices for commercial health plans and their members in

Wisconsin. These prices would not be possible without AAH’s anticompetitive behavior and have

resulted in Wisconsin commercial health plans and their members overpaying for healthcare by

hundreds of millions of dollars in recent years.

       6.       AAH’s high prices are apparent in routine, high-volume procedures like joint

replacements, which at AAH’s facilities in Milwaukee cost $21,000 more than at a competitor

facility located only minutes away, representing a 50% premium charged by AAH for the same

                                                   2

           Case 2:24-cv-00157-LA       Filed 02/05/24      Page 5 of 85       Document 1
    procedure. And they are manifested in cumulative numbers that show AAH is by far the most

    expensive hospital system in Eastern Wisconsin.

           7.        AAH’s anticompetitive behavior is a direct contributor to Eastern Wisconsin’s high

    healthcare prices. According to a recent study, healthcare prices in Milwaukee are the fourth

    highest in the entire country; they are higher even than those in New York City.2

           8.        AAH has been able to impose these eye-watering prices on commercial health plans

    and their members in Wisconsin by using its market power to suppress competition. Specifically,

    AAH:

                     Forces commercial health plans to include its overpriced facilities in-network even
                      when they do not want to;

                     Goes to extreme efforts to drive out innovative insurance products that save
                      commercial health plans and their members money;

                     Suppresses competition on price and quality of care through secret and restrictive
                      contract terms that have been the subject of bipartisan criticism; and

                     Acquires new facilities to raise prices for the same services.

           9.        Individually and in combination, this anticompetitive conduct results in higher

    prices paid by Wisconsin commercial health plans and their members. This is true throughout

    AAH’s service area, in the geographic markets in which it has monopoly or near-monopoly power,

    as well as in markets like Milwaukee where it nominally faces more competition from other

    hospitals.

           10.   The purpose of AAH’s vertical restraints (i.e., the contractual provisions it forces on

    insurance companies) is to inhibit competition, by precluding insurance companies from removing

    some AAH facilities from their networks and precluding commercial health plans that use those




2
 Christopher M. Whaley, et al., Prices Paid to Hospitals by Private Health Plans: Findings from Round
4 of an Employer-Led Transparency Initiative (2022).
                                                       3

             Case 2:24-cv-00157-LA          Filed 02/05/24      Page 6 of 85       Document 1
    networks from encouraging their members to seek care from nearby cheaper competitor hospitals

    offering a higher quality of care. If insurance companies and commercial health plans were able to

    take these actions (or even realistically threaten to), this would lead directly to lower premiums,

    co-pays, and co-insurance payments. Commercial health plans and their members thus pay

    substantially more than they otherwise would for healthcare as a direct result of AAH’s

    anticompetitive and monopolistic practices.

           11.    In 2019, AAH generated $12.8 billion in revenue and earned close to $1.5 billion in

    profit. By that same year, AAH had built up about $19 billion in assets. AAH’s high profits are a

    major outlier from other hospital systems.

           12.     AAH has used its unlawfully inflated profits to engage in an acquisition spree of

    competitor hospitals and independent facilities—a spree AAH has made clear it plans to continue

    in the years to come. These acquisitions offer AAH two self-reinforcing, anticompetitive financial

    benefits: (1) the ability to impose higher prices at the acquired facilities than the previous owners

    could, and (2) even greater systemwide power that AAH can leverage to force commercial health

    plans and their members to pay higher prices at all of its facilities.

           13.     As the Milwaukee Business Journal summarized: “Advocate Aurora Health is

    embarking on what it calls a ‘bold new strategy’ to more than double its annual revenue by 2025

    via mergers and acquisitions of healthcare systems, health insurers and consumer-facing health

    products.” AAH’s CEO speculated that the system’s profits could be used to acquire more

    hospitals “a thousand miles away,” and AAH’s Executive Vice President publicly stated AAH’s

    business practice is to be a “multi-market consolidator.”3


3
  Rich Kirchen, 'Bold' strategy: Advocate Aurora Health plans to more than double revenue by 2025,
Milwaukee Business Journal (January 14, 2020), available at:
https://www.bizjournals.com/milwaukee/news/2020/01/14/bold-strategy-advocate-aurora-healthplans-
to-more.html.
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             Case 2:24-cv-00157-LA          Filed 02/05/24       Page 7 of 85     Document 1
           14.     And that’s exactly what happened in December 2022 when AAH consummated its

    merger with Atrium Health, Inc. a multi-billion-dollar hospital system based in Charlotte with

    operations in North Carolina, South Carolina, Georgia, and Alabama.

           15.     A previous merger in 2018 combined Aurora Health Care of Wisconsin and

    Advocate Health Care of Illinois and created one of the largest hospital chains in the country. The

    merger created the renamed Advocate Aurora Health. The transaction increased both the new

    system’s market power in Southeastern Wisconsin as well as the system’s overall leverage over

    Wisconsin and Illinois commercial health plans who pay for medical services in both states and

    with the insurance companies that design many commercial health plan networks that must span

    the Wisconsin-Illinois border.

           16.     AAH—a nominal “non-profit”—recently established its own investment and

    buyout fund in 2021 to engage in further acquisitions, venture capital investments, and other

    financial transactions where, according to the new fund’s president, “there’s a lot of growth

    opportunity.” He also stated that the fund would “invest in, acquire, do a transaction with a

    company where there are synergy or cross-pollination opportunities with our core business.”

    Betraying just how far AAH has strayed from its non-profit status, the “core business” referred to

    is the supposedly charitable provision of healthcare services to Wisconsin families by AAH. And

    within that “core business,” the buyout fund president was remarkably candid about AAH’s goals:

    “One way we measure that is what we call ‘share of wallet,’ which is a sort of a retail measure of

    how many times and in what ways are we interacting with the people we serve beyond just

    traditional care delivery, and does that generate more revenue?”4



4
 Health Care Today Law Podcast, Advocate Aurora Enterprises: Commitment to Whole Person Health,
Foley & Lardner LLP (May 13, 2021), https://www.foley.com/insights/publications/2021/05/advocate-
aurora-commitment-whole-person-health.
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            Case 2:24-cv-00157-LA          Filed 02/05/24     Page 8 of 85      Document 1
        17.      By claiming non-profit status despite being a multistate, multibillion-dollar

 profitable enterprise, AAH avoids paying hundreds of millions of dollars in federal, state, and local

 taxes on profits by promising to pursue a primarily charitable purpose. However, a study by the

 independent Lown Institute released in April 2022 comparing non-profit hospital systems’

 charitable impact found that AAH spent $498 million per year less on charity care and community

 investment than the estimated taxes AAH avoided through its non-profit, tax-exempt status. This

 “fair share deficit” at AAH was the eighth worst out of 275 non-profit hospital systems evaluated.

        18.      In addition to using profits for an aggressive merger-and-acquisition strategy, AAH

 pays extraordinary amounts to the executives of this supposedly charitable institution. The CEO

 of AAH was paid over $13.4 million dollars from the charity in 2019. Over ten of AAH’s “non-

 profit” executives were paid over $1 million in 2019. The “Chief Business Development Officer”

 was paid over $2.5 million.

        19.      Without intervention, AAH will continue to use anticompetitive contracting and

 negotiating tactics to raise prices on Wisconsin commercial health plans and their members and

 use those funds for aggressive acquisitions and executive compensation. This will reduce

 economic growth in Wisconsin, harm patients and taxpayers, and drive employers from the state.

        20.      This case seeks to compensate the Commercial Health Plan Members, who have

 been directly harmed by AAH’s past illegal activity, and to enjoin AAH from continuing unlawful

 practices that harm Wisconsin’s economy and healthcare system.

II.    PARTIES

       A.      Plaintiffs

        21.      Plaintiffs Patrick and Debra Shaw (collectively, “the Shaws”) are lifelong residents

 of Wisconsin. They live in Grafton, Wisconsin, where they raised their three children. Patrick

 works as the Superintendent of The Bull at Pinehurst Farms (also known as Bull Golf at Pinehurst

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            Case 2:24-cv-00157-LA       Filed 02/05/24      Page 9 of 85       Document 1
Farms), a nationally recognized golf course in Sheboygan Falls. The Shaws are enrolled in Anthem

health insurance, and they receive their coverage through Patrick’s employer, with health insurance

premiums being covered through payroll deductions from Patrick’s earnings. Patrick’s health

insurance policy also requires the Shaws to pay co-pays, co-insurance payments, and other out-of-

pocket expenses directly to healthcare providers up to an annual out-of-pocket maximum of

$10,000. In 2023, the Shaws’ health insurance cost $1,302.41 per month, of which Patrick and

Debra pay $327.41 per month (with the remainder being paid by Patrick’s employer, The Bull).

Over the years, the Shaws’ health insurance premiums have increased steadily. For instance,

between 2022 and 2023, their premiums increased by roughly 11%.

       22.     For the past decade, the Shaws have received lackluster treatment at high cost from

AAH—treatment that has only grown worse as AAH has consolidated its market power. For

instance, in or around 2013 Debra lost the ability to receive treatment from her trusted and

longstanding primary care physician because her insurance at the time (United Health) changed its

policy to require that Debra receive treatment only by AAH doctors and facilities. Unfortunately

for Debra, her doctor was not affiliated with AAH.

       23.     Patrick’s experience with AAH has also been inadequate, in addition to being

overly expensive. When he received his first colonoscopy in 2016, he paid zero in out-of-pocket

expenses; however, after polyps were detected, Patrick was required to undergo a second

colonoscopy in 2019. Patrick’s 2019 colonoscopy cost him $4,000 out-of-pocket to AAH, a cost

so high that Patrick entered into a monthly payment plan to pay off the debt (which was only

satisfied in 2023). Worse still, Patrick was charged by AAH for two rooms and two anesthesiology

fees for the single procedure that he underwent. Despite unsuccessfully contesting these charges,

AHH contended it could double-charge Patrick for a room because two separate techniques were

used to treat him.

                                                 7

        Case 2:24-cv-00157-LA         Filed 02/05/24     Page 10 of 85       Document 1
       24.     Patrick’s difficulties with AAH have not been limited to arbitrary charges. While

seeking treatment at AAH facilities and by AAH staff, Patrick has been subjected to inadequate

care. For instance, when Patrick ended up in an AAH emergency room after becoming infected

with a serious case of COVID-19 in or around early December 2020, during which time Patrick

had extreme difficulty breathing. After check in and initial evaluation, x-rays were taken of his

lungs and oxygen was administered. Patrick was then left lying in an emergency bed for hours

until – feeling abandoned by AAH staff after no medical professional even bothered to check in

on him – he left the AAH facility without ever receiving any further treatment. Weeks later, Patrick

continued to have serious breathing problems, so he made an appointment with an AAH

pulmonologist, who informed Patrick that his right diaphragm was paralyzed. Despite the extreme

stress of the situation, Patrick’s doctor did not take the situation seriously. When Patrick pressed

for information about his condition, the AAH specialist simply joked that Patrick would find out

if his situation worsened because Patrick would no longer be able to breathe. Following this

insensitive joke, neither that doctor nor any other AAH staff member ever prescribed precautions

or treatments that could reduce Patrick’s risk of further harm.

       25.     Like Patrick, Debra has recently experienced poor care and incurred substantial out-

of-pocket expenses for treatment at AAH. Among multiple incidents, when Debra sought

treatment at an AAH facility in 2021 following an injury, she learned that she had a broken bone

from an AAH doctor who simply yelled “it’s broken” into her room while passing by. A nurse

later explained, following Debra’s shock and confusion, that Debra suffered a broken tibial plateau.

Debra was shocked by the lack of care or concern demonstrated by AAH employees, to say nothing

of the treatment she received.

       26.     The Shaws’ daughter, Plaintiff Haley Shaw, has also suffered incredibly poor

treatment at the hands of AAH with significant out-of-pocket costs. Today a resident of

                                                  8

        Case 2:24-cv-00157-LA         Filed 02/05/24      Page 11 of 85       Document 1
Milwaukee, Haley is a teacher in Milwaukee, where she teaches English in the seventh and eighth

grades. She has United Health Insurance and pays health insurance premiums, which are deducted

from her paycheck. In 2016, at the age of 24, Haley was advised by a physician to seek emergency

room services due to an extreme temperature (104 degrees) and pain throughout her neck, lower

back, head, and ears. Due to her insurance, Haley visited the emergency department at Aurora

Health Center in Grafton on June 20, 2016. At no time while Haley was there did doctors conduct

a physical assessment of Haley’s condition or conduct an ontological exam—despite Haley

repeatedly complaining about pain in both of her ears. Haley was sent home by AAH staff after

being misdiagnosed with a viral infection. Due to her worsening condition—and her mother’s

realization that Haley had never been given a physical exam at the emergency room—Haley was

taken back to the emergency room approximately one hour after leaving it. During Haley’s second

ER visit, she and her mother were belittled by AAH staff about Haley’s concerns. Despite finally

providing Haley with an examination, AAH staff told Haley that she had fluid built up in her ear,

but that this was no cause for concern. It was only after Haley left the AAH emergency room and

subsequently sought treatment at a costly walk-in urgent care clinic that she was properly

diagnosed with a severe ear infection. Haley was charged approximately $1,000 in out-of-pocket

expenses for the inadequate care she received from AAH during this ordeal.

     B.      Defendants

       27.    Defendant Advocate Aurora Health, Inc. is a Delaware non-profit corporation with

its principal place of business at 3075 Highland Pkwy FL 6, Downers Grove, Illinois, 60515. On

April 1, 2018, Advocate Aurora Health, Inc. became the sole corporate member of Advocate

Health Care Network, an Illinois non-profit corporation and Aurora Health Care, Inc., a Wisconsin

nonstock non-profit corporation. It may be served with process through its registered agent, The

Corporation Trust Company, 1209 Orange Street, Wilmington, Delaware, 19801.

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       Case 2:24-cv-00157-LA         Filed 02/05/24     Page 12 of 85        Document 1
          28.    Defendant Aurora Health Care, Inc. is a Wisconsin non-profit corporation. Its

 principal place of business is 750 W Virginia Street, Milwaukee, Wisconsin, 53204. It may be

 served with process through its registered agent at 301 S Bedford St, Ste 1, Madison, Wisconsin,

 53703.

III.   JURISDICTION AND VENUE

          29.    This Court has personal jurisdiction over AAH because AAH is a resident of

 Wisconsin and because the anticompetitive conduct at issue in this litigation took place primarily

 in Wisconsin. Wis. Stat. § 801.05(1).

          30.    This Court has subject matter jurisdiction over Plaintiffs’ federal claims under 15

U.S.C. § 15, and 28 U.S.C. § 1331. The Court has jurisdiction over Plaintiffs' state-law claims under

28 U.S.C. § 1367 because they arise from a common nucleus of operative facts.

          31.    Alternatively, this Court also has subject matter jurisdiction under 28 U.S.C.

 § 1332(d) over all of Plaintiffs’ claims because the amount in controversy exceeds $5,000,000 and

 members of the proposed class are citizens of a State different from any Defendant.

          32.    Venue is appropriate in this Court under 28 U.S.C. § 1391 and 15 U.S.C. § 15

 because AAH is domiciled in this judicial district and/or because a substantial part of the events

 or omissions giving rise to this action occurred in this judicial district.

IV.    OVERVIEW OF HOSPITAL/INSURANCE MARKETS AND CONSOLIDATION

          A.     Hospital/Insurance Negotiations Within a Functioning Market

          33.    The market for hospital services is different from other product/services markets

 because the person consuming the hospital services (the patient) does not negotiate—and in many

 cases, does not even know beforehand—the prices of the services they are consuming. Nor does

 the patient typically pay the majority of the costs of the medical services they consume. Instead,



                                                    10

          Case 2:24-cv-00157-LA          Filed 02/05/24       Page 13 of 85    Document 1
    for insured individuals, depending on plan design, a large portion of those costs are paid by their

    health insurance plans.

           34.     Business, local government, and unions may structure their employer-sponsored

    health insurance plans in one of two ways. First, employers may purchase “fully insured” “off the

    shelf” commercial health plans from insurance companies, in which companies pay premiums to

    an insurance company which, in turn, pays most of the bills from hospitals. Second, employers

    may opt to build their own “self-funded” health plans in which they directly pay the majority of

    the healthcare expenses of their employees (and their dependents). These “self-funded” or “self-

    insured” plans rely on insurance companies to help them assemble their networks and handle day-

    to-day administrative tasks,5 but they directly pay any remaining balance (after any out-of-pocket

    costs paid by the members) from hospitals for services used by their employees or dependents. In

    addition, individuals may also purchase individual commercial health plans directly from

    insurance companies without going through their employers (this is typically done through the

    Health Insurance Marketplace operated by the federal government). For simplicity, as members of

    all three types of insurance products are responsible for out-of-pocket costs in the form of

    premiums, deductibles, co-insurance payments, and co-pays, this Complaint refers to all three

    types collectively as “commercial health plans.”




5
  For both practical reasons and contractual restraints, self-funded plans can almost never assemble
their own networks of providers. They typically rely on large, well-known insurance companies like
Aetna, Anthem Blue Cross Blue Shield, and Cigna to act as Network Vendors who allow self-funded
health plans to “rent” or access the network they have assembled for their own commercial health plans.
In addition, self-funded plans also typically use insurance companies like Blue Cross or Cigna as Third-
Party Administrators (“TPAs”) to process claims and manage the day-to-day affairs of the self-funded
health plans. In some cases, a Network Vendor and TPA are two divisions of the same company. A
self-funded health plan can therefore contract with a company both to use its network and to administer
the plan.
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            Case 2:24-cv-00157-LA         Filed 02/05/24     Page 14 of 85       Document 1
       35.     The healthcare market is different from most other markets, where the consumer of

the good/service knows the price ex ante and chooses to purchase the product based on its cost,

quality, and the availability of competing options. Instead, patients, at the direction of their

healthcare providers, choose the goods or services, usually without knowing the full price that will

be charged for those goods and services.

       36.     Before medical services are consumed, hospitals negotiate the prices that

commercial health plans and their members will pay for those services with insurance companies.

The prices insurance companies negotiate with hospitals for in-network care are called “allowed

amounts.” When a provider is “in-network” for a health plan—a term that is well-understood by

health plan members—the health plan will be accepted by the provider and members’ healthcare

costs will be determined by plan documents they can consult beforehand. Going to an “out of

network” provider generally means much higher costs and uncertainty for both the member (in

terms of out-of-pocket costs, frequent surprise bills, and paperwork burden) and their health plan

(in terms of substantially higher prices than those offered to plans that include the provider in-

network and significant administrative burden).

       37.     Insurance companies negotiate with hospitals and other providers to create

networks. For a network to be commercially viable (i.e., for it to be one an employer would choose

to offer its employees and dependents), it must include enough providers throughout the geography

where the network is offered and across the full spectrum of healthcare services patients may need,

from primary care to complicated inpatient hospital surgical care to specialty practices.

       38.     Insurance companies negotiate with providers on price, attempting to balance the

need to build networks with an adequate number of providers and the need to build networks that

offer reasonable prices for their potential customers. Insurance companies generally do not

negotiate with hospitals on a service-by-service basis. Rather, they generally negotiate with

                                                  12

        Case 2:24-cv-00157-LA         Filed 02/05/24      Page 15 of 85       Document 1
hospitals for bundles of services, which will in turn be offered as “in-network” benefits in their

own commercial health plans or self-funded plans that “rent” the network. Once the networks are

assembled and incorporated into commercial health plans, the plans generally do not have control

over the prices they will be responsible for paying.

       39.     If an insurance company and a hospital reach a deal for a bundle of services (for

instance, all acute inpatient hospital services), the hospital will generally be considered in-network

for every service in that bundle. This means that for any service in that bundle, if a health plan

member receives that service from the hospital, the plan will pay the hospital the allowed amount

that the insurance company negotiated for that service, after the patient has paid their required out-

of-pocket costs.

       40.     In competitive markets—markets with multiple hospitals providing the services

commercial health plans need or want to offer their members—an insurance company will contract

with a hospital for a bundle of services only when the hospital offers services that are competitively

priced and of sufficiently high quality. The insurance company may include as in-network only

some bundles of services at any given hospital. For instance, the network may designate one

hospital as the in-network for all acute inpatient hospital services but may choose not to include

that hospital in-network for some acute outpatient hospital services (visits not requiring an

overnight stay) because the insurance company has identified ways for commercial health plans to

purchase higher quality care and/or less expensive versions of those outpatient services from a

nearby competing hospital or other outpatient provider. Similarly, in a competitive market, an

insurance company may decline to include any services from a hospital “in-network” if the

insurance company determines that the hospital’s price or quality of care are not competitive with

other nearby providers.



                                                  13

        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 16 of 85       Document 1
       41.     If an insurance company wishes to assemble viable networks, the insurance

company must construct networks that include a comprehensive bundle of services that members

of a commercial health plan can access in their region. Members generally insist on receiving their

healthcare near where they live or work. A plan will not be viable if it does not offer in-network

services that members commonly desire or need. Similarly, a plan will not be viable if members

can receive services at in-network rates only at a hospital that is a long distance from where they

live or work because members may not be able or willing to travel so far to receive those services.

       42.     In a competitive market, hospitals compete on price and the quality of patient care

to be selected by insurance companies for inclusion and preferred placement in networks.

Insurance companies in turn compete with one another (1) to offer the best fully insured and

individual commercial health plans based on those networks and (2) to have their networks selected

by self-funded health plans.

       43.     The costs that commercial health plans pay hospitals for in-network services are

ultimately passed onto people like Plaintiffs, members of these health plans, in the form of

commercial health insurance premiums. Health plan members also pay directly for the costs of

medical services provided by hospitals in the form of out-of-pocket expenses such as co-pays or

co-insurance. A significant body of academic research has demonstrated that there is a direct

connection between higher hospital prices and higher insurance premiums, and that one of the

primary drivers of an increase in premiums is consolidation in the relevant hospital market. Thus,

the insurance premiums paid by commercial health plan members increase when the plans are

forced to purchase services from hospitals at higher rates.




                                                 14

        Case 2:24-cv-00157-LA         Filed 02/05/24      Page 17 of 85      Document 1
      B.     Hospital/Insurance Negotiations in a Market Distorted by Anticompetitive
             Behavior

       44.       The unique mechanics of the healthcare market provide an opportunity for hospital

conglomerates with significant market power to anticompetitively restrain trade through unduly

restrictive negotiations and agreements with insurance companies in order to extract

supracompetitive prices from commercial health plans and their members. Supracompetitive prices

are rates that are higher than what would be found in the context of normal competition. In the

market for hospital services, supracompetitive prices come in the form of inflated allowed

amounts, which are negotiated by insurance companies and paid by commercial health plans and

their members.

       45.       When an insurance company seeks to construct a network in a region where a

significant geographic area is monopolized by a single hospital system, that hospital system is in

effect a “must-have” for the network because the underlying insureds typically expect to be able

to (and do) utilize the hospital system closest to their home or place of work. Commercial health

plans with a significant number of members in that area will therefore not use a network that does

not include necessary services provided by that “must-have” hospital system.

       46.       A system with must-have facilities that engages in anticompetitive behavior can

cause significant financial harm to commercial health plans and their members. First, in

negotiations with insurance companies, a hospital system with must-have facilities can demand

allowed amounts that are grossly above what the hospital could obtain if it faced competition. This

is true both by virtue of the hospital’s extant market power, as well as the enormously high barriers

to entry when it comes to many services hospitals provide, such as acute inpatient hospital services.

These barriers to entry, which include spending significant time and money to build facilities and

hire skilled staff (such as surgeons and anesthesiologists) as well as regulatory hurdles such as

obtaining approval from state and local officials before opening a new facility, prevent new
                                                 15

        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 18 of 85      Document 1
    entrants from entering the market and reining in prices charged at must-have facilities. Wisconsin

    imposes detailed regulatory oversight and requires approval of new hospital construction, creating

    another headwind for new facilities. And Wisconsin has a cap on the total number of hospital beds

    in the state.

            47.     Second, if the must-have facilities are part of a larger hospital system that has other

    facilities that do face competition, the hospital system can refuse to offer in-network services at

    the must-have facility unless insurance companies also agree to include in their networks the

    system’s other facilities, at higher allowed amounts than those other facilities could normally

    demand standing alone. When negotiating with insurance companies, a hospital system with must-

    have facilities can link those facilities to the system’s facilities that would normally face more

    competition, and by doing so extract supracompetitive prices from commercial health plans and

    their members. Importantly, this results in commercial health plans paying supracompetitive

    allowed amounts not only for services obtained at the must-have facilities but also for services at

    the system’s “linked” facilities, which face more competition.

            48.     These factors and others have led to a consensus in the field of healthcare

    economics that monopolization of hospital markets significantly increases prices for hospital

    services. As the Kaiser Family Foundation wrote, “A wide body of research has shown that

    provider consolidation leads to higher health care prices for private insurance; this is true for both

    horizontal and vertical consolidation.”6 And the economic literature strongly suggests that there

    are no concomitant improvements in quality from such monopolization.




6
  Karyn Schwartz, et al., What We Know About Provider Consolidation, Kaiser Family Foundation
(Sept.   2,    2020),     https://www.kff.org/health-costs/issue-brief/what-we-know-about-provider-
consolidation.
                                                       16

             Case 2:24-cv-00157-LA          Filed 02/05/24      Page 19 of 85       Document 1
       49.     Another anticompetitive tactic used by dominant hospitals to extract

supracompetitive rates is the imposition of “anti-steering” and “anti-tiering” provisions in their

contracts with insurance companies and health plans. In a competitive market, an insurance

company may include both high-cost and low-cost hospitals in network, but individual health plans

can take measures (whether directly or indirectly through their TPAs) to incentivize their members

to choose the lower-cost, higher-quality provider where possible. These measures can include

adding low-cost, high-quality providers to the network, providing truthful information about the

cost of care, and offering financial benefits (e.g., lower out-of-pocket costs or more preferential

risk-sharing) when members choose lower-cost providers. Such measures undertaken by health

plans are called “steering.” Another form of steering is the creation of “tiered” networks or “tiered”

plans, in which low-cost, high-quality providers are in a higher tier than more expensive and/or

lower-quality competitors, and the plan’s members are financially incentivized to choose providers

in a higher tier by, for instance, requiring a lower co-pay for medical care received from higher-

tier providers. This form of steering is often referred to as “tiering.” Another form of steering is

the creation of “narrow networks,” which consist of a subset of all the healthcare providers that

participate in a conventional network, typically excluding higher-priced providers.

       50.     Academic research by health economists has demonstrated that when commercial

health plans are free to engage in steering and tiering, the plans and their members pay significantly

lower costs for healthcare, with no corresponding reduction in health outcomes.

       51.     When a dominant hospital system—particularly a system with one or more must-

have facilities—negotiates with insurance companies, the system can force the insurance

companies and commercial health plans using their networks not to engage in these cost-saving

measures by requiring “anti-steering” or “anti-tiering” provisions in their contracts. Such

provisions essentially require commercial health plans to grant the dominant provider a “most

                                                  17

        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 20 of 85       Document 1
favored nation” status, preventing the plans from favoring other systems through financial

incentives, information sharing, or placing any other system in a plan’s higher “tier.” As detailed

below, AAH engages in this anticompetitive conduct.

       52.     In 2016, former President Obama’s Department of Justice brought a Sherman Act

suit against Atrium Health, a dominant North Carolina hospital system that imposed anti-steering

and anti-tiering provisions on commercial health plans. See United States v. The Charlotte-

Mecklenburg Hosp. Auth., No. 3:16-cv-00311-RJC-DCK (W.D.N.C.). AAH and Atrium have

merged into one multistate system in a $27 billion deal. In the lawsuit, the government alleged that

the system “prevent[ed] insurers from offering tiered networks that feature hospitals that compete

with [the system] in the top tiers, and prevent[ed] insurers from offering narrow networks that

include only [the system’s] competitors.” Id. Dkt. 1 ¶ 12. The government further alleged that these

and other “steering restrictions reduce competition resulting in harm to Charlotte area consumers,

employers, and insurers.” Id. at 1. The government also alleged that the system had the market

power necessary to be able to Force these provisions on unwilling insurers, because the system

controlled approximately 50 percent of the relevant market (acute inpatient hospital services). Id.

¶ 2. After a federal court held that the system’s use of anti-steering provisions was plausibly

anticompetitive under the Sherman Act, id. Dkt. 46, the case settled, and the system agreed not to

impose anti-steering and anti-tiering provisions on commercial health plans going forward.

       53.     Former President Trump’s Deputy Assistant Attorney General for Antitrust Barry

Nigro also criticized anti-steering provisions saying, “Without these provisions, insurers could

promote competition by ‘steering’ patients to medical providers that offer lower priced, but




                                                 18

        Case 2:24-cv-00157-LA         Filed 02/05/24      Page 21 of 85       Document 1
    comparable or higher-quality services. Importantly, that practice benefits consumers, but the anti-

    steering restrictions prevented it.”7

           54.     President Biden’s Secretary of Health and Human Services, Xavier Becerra, wrote

    in his previous role as California Attorney General that contracting practices that “prevented

    insurers from using steering and tiering” were among types of “anticompetitive conduct” that

    “discouraged competition, impaired price-conscious consumer choice, and resulted in inflated

    prices on a system-wide basis that exceed its competitors and exceed the prices its hospitals and

    its other providers could charge in a free, competitive market.”

           55.     Likewise, Senator Chuck Grassley, then chairman of the U.S. Senate Judiciary

    Committee, said such anti-steering practices were “restrictive contracts deliberately designed to

    prevent consumers’ access to quality, lower cost care.”8

           56.     Because of the nature of the healthcare market being one where the person selecting

    services (a patient in consultation with their providers) is not the same as the entities paying for

    the majority of services (commercial health plans), there is a consensus in healthcare policy and

    economics that these types of restraints – which AAH uses in the form of all-plans, all-or-nothing,

    anti-steering, anti-tiering, gag clauses, referral restrictions, non-competes, suppression of

    reference-based pricing (discussed below), and other restraints placed on health plans – block rival

    providers from their main cost-effective means of competing on cost and quality of care,

    substantially constrain the choices of consumers and health plans by limiting pricing and quality

    of care information, remove incentives for new providers to enter the market, bar insurance


7
   Barry Nigro, U.S. Dep’t of Just. A Prescription for Competition (May 17, 2018),
https://www.justice.gov/opa/speech/deputy-assistant-attorney-general-barry-nigro-delivers-keynote-
remarks-american-bar.
8
  Letter from Sen. Charles Grassley to Joseph Simons, Chair, Fed. Trade Comm’n (Oct. 10, 2018),
https://www.judiciary.senate.gov/imo/media/doc/2018-10-10%20CEG%20to%20FTC%20-
%20Insurance-Hospital%20Contracts.pdf.
                                                     19

            Case 2:24-cv-00157-LA           Filed 02/05/24     Page 22 of 85      Document 1
 companies from developing lower-cost network options to compete with their rivals, and have

 other anticompetitive harms detailed below. And because of the nature of the healthcare market

 outlined previously, these harms to competition take place even if, on paper, consumers still have

 “choices” among providers. Thus, they foreclose key methods of competition that commercial

 health plans would normally use (and patients would normally select) to encourage price and

 quality of care competition between providers.

        57.     A May 2022 academic study in Health Affairs concluded that tools like reference-

 based pricing, steering, tiering, and transparency in pricing are particularly important to preserve

 competition after mergers like the ones AAH has recently engaged in: “In addition to proactive

 oversight of mergers, acquisitions, and joint contracting, the actions of policy makers, insurers,

 and employers to empower healthcare consumers with information and incentives to choose lower-

 cost providers may help mitigate the price effects of consolidation. To this end, employers and

 health plans have increasingly offered enrollees access to cost transparency tools and benefit

 designs that include tiered copayments, reference-based pricing, and incentives to seek care at

 centers of excellence. Such ‘steering’ mechanisms have been shown to lower costs and put

 downward pressure on prices.” Yet, those specific tools the study identified as important to

 maintaining competition – reference-based pricing, steering, tiering, and transparency – are the

 precise tools that AAH has suppressed through the vertical restraints it has forced on insurance

 companies.

V.    RELEVANT MARKETS

        58.     Judgment may be entered against AAH for the illegal conduct described in this

 complaint without defining the particular economic markets that AAH’s conduct has harmed.

 With respect to Plaintiffs’ antitrust claims, AAH’s ability to impose anticompetitive contract terms

 in all, or nearly all, of its agreements with commercial health plans and AAH’s ability to

                                                  20

         Case 2:24-cv-00157-LA         Filed 02/05/24      Page 23 of 85       Document 1
persistently charge supracompetitive prices are direct evidence of AAH’s market power that

obviates any need for further analysis of competitive effects in particular defined markets.

       59.     Moreover, AAH’s ability to control prices in every market in which it operates is

direct evidence of AAH’s monopoly power, obviating the need to define relevant markets and

assess market power indirectly through the use of market shares.

       60.     Notwithstanding the foregoing, the markets that are relevant to the illegal conduct

described in this Complaint are properly defined herein. For each, the product market only includes

the purchase of medical services by commercial health plans. The relevant product markets do not

include sales of such services to government payers, e.g., Medicare, Medicaid, and TRICARE

(covering military families), because healthcare providers’ negotiations with insurance companies

are separate from the process used to determine the rates paid by government payers.

      A.      Relevant Product Markets

       61.     The primary relevant product markets in this action are the clusters of inpatient and

outpatient acute hospital care services offered by AAH. These inpatient and outpatient markets,

which are distinct product markets from each other for reasons discussed below, include sales of

such services to individual, group, fully insured, and self-funded health plans. AAH sells these

services at each of its facilities, although not every facility offers the same bundle of services.

       62.     Relevant Product Market #1: Acute Inpatient Hospital Services. Acute inpatient

hospital services consist of a broad group of medical and surgical diagnostic and treatment services

that include a patient’s overnight stay in the hospital. Although individual acute inpatient hospital

services are not substitutes for each other (e.g., orthopedic surgery is not a substitute for

gastroenterology), insurance companies typically contract for various individual acute inpatient

hospital services as a bundle in a single negotiation with a hospital when assembling their

networks. Moreover, non-hospital facilities, such as independent outpatient facilities, specialty

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        Case 2:24-cv-00157-LA          Filed 02/05/24       Page 24 of 85       Document 1
facilities (e.g., nursing homes), and facilities that provide long-term psychiatric care, substance

abuse treatment, and rehabilitation services are not viable substitutes for acute inpatient hospital

services. Health plans’ and consumers’ demand for acute inpatient hospital services is generally

inelastic because such services are often necessary to prevent death or long-term harm to health.

Thus, such inpatient services can be treated analytically as a single product market.

       63.     Relevant Product Market #2: Outpatient Medical Services. Outpatient medical

services encompass all the medical services a hospital provides that are not inpatient medical

services (i.e., services that do not require an overnight stay). Although individual outpatient

medical services are not substitutes for each other (e.g., a CT scan is not a substitute for an annual

physical), insurance companies often contract for various individual outpatient medical services

as a bundle in a single negotiation with a hospital system when assembling their networks, and that

is how AAH negotiates with insurance companies with respect to outpatient hospital services.

       64.     Unlike for acute inpatient hospital services, non-hospital facilities—such as

independent primary care providers, specialty facilities, ambulatory surgical centers, nursing

homes, and facilities that provide long-term psychiatric care, substance abuse treatment, and

rehabilitation services—can be substitutes for outpatient medical services provided at a hospital.

Consequently, health plans’ and consumers’ demand for outpatient medical services from a

hospital is generally more elastic because, if given the opportunity, they could obtain some of these

services from non-hospital providers. But demand for outpatient medical services in general is

inelastic because such services are often necessary to prevent illness, loss of physical mobility, or

long-term harm to health. Thus, outpatient medical services can be treated analytically as a single

product market.

       65.     These two product markets—acute inpatient hospital services and outpatient

medical services—are separate. Health plans often purchase outpatient medical services from

                                                  22

        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 25 of 85       Document 1
different providers (i.e., non-hospital providers) than those from which they purchase acute

inpatient hospital services, which can only be purchased from hospitals. The existence of non-

hospital competitors would, absent anticompetitive behavior, reduce the price health plans and

their members would pay a hospital system for outpatient medical services, but those competitors

would not affect the price a hospital could charge for acute inpatient hospital services. There are

also numerous procedures that can only be performed in an inpatient setting instead of an outpatient

setting. The markets are therefore distinct.

      B.     Relevant Geographic Markets

       66.     Patients generally seek inpatient and outpatient care from hospitals in the areas

where they live and work and where their local physicians have admitting privileges. As stated in

an FTC study, “In healthcare markets, distance to medical provider is one of the most important

predictors of provider choice.” Given this, patients do not typically regard hospitals located many

miles away from them as substitutes for local ones, particularly when they have little or no financial

incentive to travel greater distances. Consequently, an insurance network that does not satisfy

patient demand for access to conveniently located hospitals will not be commercially viable.

       67.     Hospital Service Areas (“HSAs”) are one widely accepted proxy for market

definition for inpatient acute care services, developed by The Dartmouth Atlas of Healthcare. The

Dartmouth Atlas defines HSAs as “local healthcare markets for hospital care” and HSAs are often

used in the health care industry to define relevant markets.

       68.     In the following HSAs (“AAH Monopolized Inpatient Markets”), AAH faces little

to no competition, and competition from providers of acute inpatient hospital services located

outside these HSAs would likely not be sufficient to prevent a monopolist provider of acute

inpatient hospital services located in the HSA from profitably imposing small but significant price

increases for those services over a sustained period of time. Indeed, in each of these geographic

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        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 26 of 85       Document 1
    markets AAH has imposed significant, sustained price increases without losing market share, thus

    satisfying the “hypothetical monopolist” test used to assess the validity of geographic market

    definitions. For many health plans—and thus insurance companies when assembling networks—

    AAH facilities in the following areas are considered “must-have” for a network.

           69.     Elkhorn HSA: In the Elkhorn HSA, AAH controls 66% of inpatient admissions in

    the HSA.9 AAH owns the only hospital in Elkhorn, Aurora Lakeland Medical Center. The next

    nearest hospital for residents of Elkhorn is Mercyhealth Hospital which is not a viable competitor

    because it lacks certain essential services that Aurora Lakeland offers. For example, dialysis

    treatment including both hemodialysis (dialysis requiring appointments at a hospital multiple times

    per week), peritoneal dialysis (self-dialysis done seven days a week), as well as an Extracorporeal

    ShockWave Lithotripter (the most common way to treat kidney stones) are available at Aurora

    Lakeland but not Mercyhealth. Additionally, Mercyhealth Hospital has only 25 inpatient beds

    total, meaning that it would be an entirely inadequate substitute for AAH for plans in Elkhorn

    HSA. As discussed below, employers and consumers would be unwilling to accept a plan that

    excluded 72% of all inpatient beds available in the Elkhorn HSA, which would be the result of a

    network that did not include AAH. Even in the actual small zip code where Mercyhealth is located,



9
  This inpatient market share data is primarily based on Medicare admissions or discharges from 2022.
See Hospital Service Area, Ctr. for Medicare & Medicaid Servs. https://data.cms.gov/provider-
summary-by-type-of-service/medicare-inpatient-hospitals/hospital-service-area/data (last visited Jan.
31, 2024). According to the federal government’s Centers for Medicare & Medicaid Services (CMS),
Medicare data can be “a useful proxy” for evaluating provider market saturation for “private insurance”
and academic research has “found market share based on the Medicare discharge data to be
representative of all discharges, not just those for Medicare beneficiaries. This is because a hospital’s
volume of Medicare patients in a given area is associated with its total volume of patients.”
Furthermore, a review of non-Medicare sources indicates Medicare admissions are useful estimates of
market share. For example, a broader State of Wisconsin analysis in 2018 indicated that “the [AAH]
System operates ten acute care facilities with a 45 percent inpatient market share” in the “Greater
Milwaukee South, Southern Wisconsin, and Northern Illinois Region” – the same percentage of
inpatient admissions as Medicare numbers for the Milwaukee HSA.
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            Case 2:24-cv-00157-LA         Filed 02/05/24     Page 27 of 85       Document 1
it only accounts for 15% of inpatient admissions, showing that it is simply not a significant check

on AAH’s monopoly power in the region.

       70.     For families living north or east of Elkhorn, both of the closest two hospitals are

AAH facilities: Aurora Lakeland Medical Center and Aurora Medical Center Burlington.

       71.     The Elkhorn HSA is entirely within Walworth County, Wisconsin. Wisconsin

Physicians Services (“WPS”)—a prominent insurance company and TPA—has stated that in

Walworth County, “the Aurora network is a necessary component of any health insurance product

sold to employers or other groups of any size.” (emphasis in original). Thus, for the Elkhorn HSA,

the AAH network is a necessary component of any network used by commercial health plans in

the Burlington HSA.

       72.     Burlington HSA. AAH controls over 71% of inpatient admissions in the HSA with

significantly over 80% in some portions. AAH owns the only inpatient facility in Burlington,

Wisconsin, Aurora Medical Center Burlington. The next nearest inpatient acute care facility for

residents of Burlington and nearby towns is about 20 minutes away with no traffic and is another

AAH facility, Aurora Lakeland Medical Center. For many residents west of Burlington, the three

closest inpatient acute care facilities are all AAH hospitals. To get to a non-AAH facility, a resident

of Burlington or nearby towns would need to drive 25 or more minutes (if there is no traffic) to

Mercyhealth Hospital, a much smaller facility in Lake Geneva without the inpatient bed capacity

for a viable network and without many common hospital services available at Aurora Lakeland

Medical Center. For just a few examples, Mercyhealth Hospital does not have a PET scanner, a

cardiac catheterization laboratory, cardiac rehabilitation, or an Extracorporeal ShockWave

Lithotripter (the most common way to treat kidney stones), all of which are available at AAH’s

Aurora Medical Center Burlington. Because of this, Mercyhealth would not be a viable competitor

for many services even if it were close enough to compete. Additionally for many residents of

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        Case 2:24-cv-00157-LA          Filed 02/05/24       Page 28 of 85       Document 1
Salem Lakes (within the Burlington HSA), the closest three inpatient facilities are all owned by

AAH. The nearest non-AAH inpatient facility is 30 minutes or more for most Salem Lakes

residents and would involve driving past an AAH facility.

       73.    As described previously, WPS, a leading insurance company and TPA, has stated

that AAH is a must-have system in Walworth County. Walworth County has significant overlap

with the Burlington HSA. Walworth County is larger than the Burlington HSA and AAH has a

smaller inpatient market share in Walworth County than it does in the Burlington HSA. Therefore,

WPS’s statements reasonably imply that the AAH network is a necessary component of any

network used by commercial health plans in the Burlington HSA.

       74.    Hartford HSA: AAH owns the only inpatient facility in Hartford, Wisconsin and

controls 63% of inpatient admissions in the Hartford HSA overall.

       75.    Marinette HSA: AAH owns the only inpatient facility in Marinette, Wisconsin and

controls about 83% of inpatient admissions in Marinette, Wisconsin and 89% of admissions in

Menominee, Michigan. In the HSA overall, which spans the Michigan-Wisconsin border, AAH

controls 81% of inpatient admissions. AAH did not build this monopoly through outcompeting

rivals on price and quality as our antitrust laws envision. Instead, in mid-2019, AAH purchased

the only hospital in Marinette. The next closest hospital for many residents of Marinette or

Menominee is Bellin Hospital in Oconto which is over 30 minutes away—absent traffic—and

which fails to offer commensurate services. For example, Bellin Hospital does not have many of

the birth-related facilities that are available at AAH in Marinette and lacks many facilities and

much equipment necessary for intensive care. Thus, Bellin Hospital would be a non-viable

competitor for many services even if it was close enough to compete with AAH in this HSA. For

other Wisconsin and Michigan communities farther north, the next closest facility after Aurora

Medical Center Bay Area is over an hour away. Commercial health plans in both Wisconsin and

                                               26

       Case 2:24-cv-00157-LA         Filed 02/05/24     Page 29 of 85      Document 1
Michigan are significant purchasers of inpatient and outpatient services from AAH’s Marinette

facilities.

        76.     Two Rivers HSA: AAH owns the only inpatient facility in Two Rivers, Wisconsin.

AAH controls about 73% of inpatient admissions in Two Rivers and over 72% of inpatient

admissions in the HSA overall. For many residents of Two Rivers, the next closest non-AAH

facility is the smaller Holy Family Memorial Medical Center in Manitowoc, which is about 20

minutes away with no traffic. Furthermore, for residents who live farther north, the two closest

facilities are both AAH-owned.

        77.     Sheboygan HSA: AAH controls over 64% of inpatient admissions in the

Sheboygan HSA and close to 70% of inpatient admissions in parts of Sheboygan. For some

residents living south of Sheboygan, the next-closest facility is also an AAH hospital. This

increases the market power that AAH has in Sheboygan and areas south of Sheboygan. AAH’s

market power in Sheboygan is also demonstrated by its ability to control prices, including charging

significantly more for inpatient procedures than the other, much smaller inpatient facility in

Sheboygan.

        78.     Plymouth HSA: AAH controls about 75% of inpatient admissions in the Plymouth

HSA.

        79.     Port Washington HSA: AAH controls over 76% of inpatient admissions in the Port

Washington HSA, primarily due to its ownership of Aurora Medical Center Grafton, the only

hospital in Grafton.

        80.     In all the AAH Monopolized Inpatient Markets above, AAH’s monopoly market

power is also reflected in its ability to control prices for inpatient acute care services.

        81.     In all the AAH Monopolized Inpatient Markets above, AAH is also a significant

provider of outpatient medical services. Through abuse of its monopoly on acute inpatient hospital

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         Case 2:24-cv-00157-LA          Filed 02/05/24       Page 30 of 85       Document 1
 services, AAH is able to charge supracompetitive prices for outpatient medical services as well, as

 described in more detail below.

         82.     In the following HSAs, and in other areas of Wisconsin, AAH faces some

 competition, yet it is able to impose anticompetitive terms on insurance companies and charge

 supracompetitive prices for inpatient and outpatient services through anticompetitive conduct.

 Some examples of HSAs where AAH has been able to charge supracompetitive prices include:

 Milwaukee HSA, West Allis HSA, Kenosha HSA,10 Oshkosh HSA, Manitowoc HSA,

 Oconomowoc HSA, West Bend HSA, Brookfield HSA, Cudahy HSA, Green Bay HSA, Racine

 HSA, Sturgeon Bay HSA, Waukesha HSA, Chilton HSA, Watertown HSA, Shawano HSA, Fort

 Atkinson HSA, Berlin HSA, Kewaunee HSA, Fond Du Lac HSA, and Menomonee Falls HSA.

 AAH has also been able to impose anticompetitive terms in several other HSAs in Eastern

 Wisconsin, even where AAH controls less than 5% of inpatient admissions.

         83.     These HSAs, combined with those that comprise AAH Monopolized Inpatient

 Markets, comprise the Relevant Geographic Markets.

         84.     In the Milwaukee HSA and nearby HSAs, AAH primarily faces competition from

 two hospital systems: Froedtert and Ascension. Froedtert’s flagship facility is Froedtert Hospital

 and the Medical College of Wisconsin, and Ascension’s flagship facility is Ascension Columbia

 St. Mary’s Hospital. Both have higher safety ratings than AAH’s flagship St. Luke’s Hospital and

 both are less than 20 minutes away from St. Luke’s. Yet, AAH’s inpatient and outpatient prices

 are dramatically higher than either. As explained below, AAH’s supracompetitive prices are due

 to anticompetitive contracting and its abuse of its market power in other markets to extract rents

 in Milwaukee.


10
  AAH is also a provider for nearby Illinois communities and commercial health plans based in Illinois.
For example, AAH controls about 41% of inpatient admissions from Winthrop Harbor, Illinois.
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         Case 2:24-cv-00157-LA         Filed 02/05/24      Page 31 of 85      Document 1
VI.    AAH’S MARKET POWER

         85.     AAH is the largest hospital system in all of Wisconsin and the dominant hospital

 system in Eastern Wisconsin. AAH built its substantial market power through acquisitions,

 aggressive contracting and negotiating, and other anticompetitive tactics. As explained below,

 AAH’s market power is manifested in its ownership of specific “must-have” facilities, its

 ownership of specialty facilities, its overall market share, and its ability to control prices.

         86.     Demand for the care provided by hospitals (and especially acute inpatient care) is

 particularly inelastic because care is often necessary to prevent permanent injury or death and

 generally cannot be obtained from far away geographies. While per capita demand for healthcare

 may vary between markets based on demographics (younger communities require less healthcare,

 for example), the demand within a specific market is much less variable.

         87.     Similarly, supply for medical care is particularly inelastic because of the difficulties

 of constructing new facilities that provided such care (especially acute inpatient care facilities) and

 the lack of excess capacity (especially acute inpatient care capacity). Therefore, in a region with

 only a few large providers of acute inpatient care and a lack of significant excess capacity, it is

 practically impossible for a large insurance company to indefinitely remove the largest hospital

 system from its networks; there would simply not be enough alternative inpatient capacity to

 accommodate all members of health plans using its networks in need of lifesaving care. And

 individuals would simply not be willing to enroll in a health plan lacking such a dominant hospital

 system if there was a risk that changes to a network meant they were unable to receive in-network

 care nearby because of capacity restraints.

         88.     Therefore, unlike in most industries, a hospital conglomerate with anticompetitive

 goals that controls even a large plurality of inpatient care capacity in a region can force insurers

 and consumers to accept prices and contractual terms that would only be possible for a monopolist

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         Case 2:24-cv-00157-LA           Filed 02/05/24       Page 32 of 85       Document 1
in other product markets. This is evidenced by the fact that hospital systems in other states with

only 40-50% of inpatient market share in a specific market but substantial operations across a

region have a documented ability to impose anticompetitive contractual provisions on insurance

companies and commercial health plans. For example, the North Carolina system that the U.S.

Department of Justice sued for forcing insurance plans to include anti-steering provisions was

alleged to have 50% of the market for acute inpatient hospital services. While this is below the

normal market-share threshold for monopoly power in other industries, the hospital system

nonetheless was able to impose those vertical restraints because, practically speaking, insurance

carriers in the Charlotte area could not viably exclude that system from their networks.

       89.     Similarly, an employer in the Milwaukee region was told by Network Vendors that

AAH is the “dominant player” that is able to force contractual terms on insurance companies,

despite the fact that AAH does not have a majority of inpatient or outpatient market share in the

Milwaukee HSA.

       90.     AAH told a large Network Vendor in the context of a contract discussion that “you

need us more than we need you.” This indicates that AAH is both aware of its market power and

understands it can use that market power to force insurance companies to accept terms they

otherwise would not, which it has done in all or nearly all negotiations with insurance companies

during the relevant period.




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        Case 2:24-cv-00157-LA         Filed 02/05/24     Page 33 of 85       Document 1
      A.       AAH’s Ownership of “Must-Have” Hospitals Provides Its Enormous Market Power.

        91.      Separate and apart from the systemwide market power AAH’s total regional

dominance gives it, AAH also has market power due to its control of several “must-have” facilities.

AAH controls a number of facilities that insurance companies must include in their networks in

order to be viable for commercial health plans with significant members living near that AAH

facility. AAH hospitals in Burlington, Elkhorn, Hartford, Marinette, Two Rivers, and Sheboygan

are “must-have” facilities for many commercial health plans with a significant number of members

living near those facilities, and thus are “must-have” for insurance companies seeking to offer or

operate plans in those geographies. This is evidenced both by their monopoly-level market share

of inpatient admissions in those communities and by the unwillingness of patients to travel long

distances for healthcare services.

        92.      A hospital system can obtain effective monopoly power for inpatient acute care in

geographic markets while holding a smaller percentage of market share than would be needed to achieve

monopoly power in many other industries. Many of these reasons are intuitive barriers to entry: enormous

financial, legal, and regulatory barriers to entry to building a new competitor inpatient acute care hospital;

difficulty of attracting specialized staff in a tight labor market featuring non-competes (including those used

by AAH); referral networks and medical records rules that disadvantage new entrants. Others reasons are

specific to the inpatient market: Because there is limited excess capacity in most markets for inpatient acute

care services (a large percentage of empty beds can drive a hospital out of business) but demand that varies

based on external events (seasonal disorders, disease spikes, natural disasters, new substance abuse trends,

etc.), it is generally not practical for larger insurance companies to have a hospital system with over 50%

of inpatient beds in a specific geographic market out-of-network in the long-term.

        93.      These facts are borne out by experience. As noted above, Atrium Health, a system

in North Carolina that AAH has merged with, was able to impose anti-steering restrictions on

insurance companies despite “only” controlling 50% of the inpatient market. In Wisconsin an

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         Case 2:24-cv-00157-LA             Filed 02/05/24       Page 34 of 85         Document 1
insurance company stated that it was not possible to assemble a viable network in a geography that

excludes a hospital system with only 50-60% inpatient market share in that geography. Insurers,

TPAs, and health plans elsewhere have made similar points about the must-have nature of systems

with only 50-60% inpatient market share in other markets, and leading health care economists have

concluded that hospitals can have higher market power relative to their market share than other

industries. This means that a hospital system with over 50% inpatient market share can have

monopoly power and/or be a “must have” system in specific geographic markets.

       94.     As explained previously, there are also rural communities—like those in Kewaunee

County or northern Marinette County, for example—where reaching a non-AAH inpatient facility

would involve the practical impediment of driving long distances directly past an AAH hospital.

       95.     As explained below, AAH has explicitly told insurance companies that if they want

an AAH facility in any one of their networks, they must include all relevant AAH facilities in

every plan using any network. It was possible for AAH to make this demand (and the demand is

credible with insurance companies) because (1) AAH owns at least some facilities that it knew

insurance companies needed in their networks, i.e., must-have facilities, and (2) AAH has

systemwide power throughout Eastern Wisconsin that makes it indispensable to any significant

network.

     B.      AAH’s Ownership of Many Specialty Services in Eastern Wisconsin Increases Its
             Market Power.

       96.     For some specialized procedures, AAH touts its regional or statewide status as the

“only” provider of many of these services. For commercial health plans, that makes the inclusion

of some AAH facilities necessary to accommodate particularized health needs.

       97.     For example, Aurora Healthcare Centers for Comprehensive Wound Care &

Hyperbaric Medicine includes the only center in Washington County offering hyperbaric oxygen


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       Case 2:24-cv-00157-LA         Filed 02/05/24      Page 35 of 85      Document 1
 therapy. And Aurora St. Luke’s, in Milwaukee, is the only hospital in the region with a 24/7 on-

 site heart-care team. AAH operates the only psychiatric hospital in Sheboygan.

        98.     In other cases, an AAH hospital’s specialty services may make it difficult for

 commercial health plans to accept a network that excluded the hospital with those services. For

 example, one AAH hospital has the equipment necessary for the treatment of most kidney stones

 whereas the closest non-AAH hospital does not. Members of a commercial health plan who have

 a history of kidney stones would resist participation in a plan that didn’t include the only nearby

 facility with equipment used to treat kidney stones.

VII.   AAH’S ANTICOMPETITIVE CONDUCT

       A.      AAH Imposes “All Or Nothing” and “All Plans” Contract Language and Uses Other
               Tactics to Force Inclusion of Its Overpriced Hospitals in Insurance Networks.

        99.     AAH uses its overall market power in Eastern Wisconsin to extract higher prices

 even at its facilities that face significant competition. If an insurance company seeks to include an

 AAH facility that it needs to build a viable network, AAH forces the insurance company to also

 include facilities and outpatient providers that the vendor does not want in its network. On

 information and belief, AAH has done so in all or nearly all of its negotiations with insurance

 companies during the relevant period, thus affecting the vast majority of the market.

        100.    According to a Milwaukee Journal Sentinel investigation in late 2018, “The

 variation in prices also has drawn attention to ‘all-or-nothing’ clauses that require health plans to

 include all of a health system’s hospitals in a network and that bar health plans from placing the

 hospitals in a tier that requires higher cost-sharing. Aurora Healthcare, now part of Advocate

 Aurora Health, has long had those clauses in its contracts.”11 Such all-or-nothing clauses are a



11
  Guy Boulton, Health Care Prices in the Milwaukee Area Overall Are 17 Percent Above the National
Average, Milwaukee Journal-Sentinel (Nov. 8, 2018), https://www.jsonline.com/story/money/busi

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         Case 2:24-cv-00157-LA          Filed 02/05/24      Page 36 of 85      Document 1
 vertical restraint that AAH has imposed on insurance companies like Anthem, UnitedHealth,

 Cigna, Quartz, Common Ground Healthcare, Trilogy, Aetna, Humana, and others, and which these

 insurance companies would not agree to but for AAH’s demand that they do so.

        101.    AAH has gone as far as to sue health plans that attempt to only include some of its

 hospitals in their networks for violating the all-or-nothing clauses that AAH forces insurance

 companies to accept in their contracts. In a suit that was confidentially settled in 2007, AAH stated

 that its contracts require that all AAH facilities be included in all of an insurance company’s

 commercial health plans or none of them can be. AAH sued WPS, a commercial health insurer and

 Network Vendor, for “operating and marketing of plans without Aurora providers in violation of

 our agreement.”

        102.    According to that AAH contract, WPS agreed to “Identify all AURORA

 Participating Providers as Participating Preferred Providers in all WPS Plans within Aurora’s

 defined service area of Eastern Wisconsin.” Therefore, not only does AAH force “all-or-nothing”

 contract language on insurance companies for any given plan—it also insists that even if an

 insurance company needs to include just one AAH provider in one network, the insurance

 company must include all AAH inpatient and outpatient providers in every plan it offers, including

 all networks offered to self-funded commercial health plans. This “all-plans” condition is a vertical

 restraint that enables AAH to extract supracompetitive rents even in markets where it does not

 have a dominant market share. And AAH makes its “all-plans” condition clear in the definitions

 appendix to its contracts: The WPS/AAH contract stated explicitly that “‘Plan’ shall include

 individual health insurance policies, group health insurance certificates issues by WPS and self-

 insured plans administered by WPS,” meaning that the exact same restraints applies to the



ness/health-care/2018/11/08/health-care-prices-milwaukee-green-bay-well-above-national-average/18
89248002.
                                                  34

         Case 2:24-cv-00157-LA          Filed 02/05/24      Page 37 of 85      Document 1
insurance company if it sells its network to other commercial health plans or if it operates its own

commercial health plan. On information and belief, AAH continues to use similar contract

language and has used such language in contracts with most insurance companies during the

relevant period. Insurance companies would prefer not to include the all-plans restraint in their

contracts with AAH, but AAH is able to force them into accepting the term due to its market power.

       103.    But for AAH’s all-plans requirement, insurance companies would develop plans

that did not include AAH (or at least did not include all of its facilities) in-network, which would

force AAH to compete with rival providers on price and quality of care. By eliminating that method

of competition, AAH has substantially foreclosed competition in the relevant markets.

       104.    This foreclosure is substantial, moreover, because AAH has forced all or nearly all

insurance companies to accept its all-or-nothing and all-plans restrictions. According to WPS,

AAH forces all or nearly all insurance companies to agree to the same all-or-nothing terms, and

“every other major health insurer with which Aurora has contracted, including United Health

Group, Inc., WellPoint Health Networks, Inc., Humana, Inc., Aetna, Inc., and others, has been

forced to accede to Aurora’s anticompetitive interpretation of the all-plans requirement, regardless

of the specific text of that requirement in their respective contracts.” “Others” clearly refers to

other smaller insurance companies than those named, which includes Cigna, Trilogy, Common

Ground Healthcare, Quartz, and other Wisconsin-specific insurance companies. Thus, these

vertical restraints have foreclosed a substantial amount of commerce in AAH’s service area.

AAH’s forced imposition of the all-plans requirement on just the entities named by WPS represents

a restraint that has foreclosed competition for in vast majority of the health insurance market in

Eastern Wisconsin.

       105.    AAH treats these all-or-nothing and all-plans clauses as non-negotiable and forces

them on insurance companies. A consultant who has negotiated contracts with AAH stated that

                                                 35

        Case 2:24-cv-00157-LA         Filed 02/05/24      Page 38 of 85       Document 1
AAH’s negotiating posture on its anticompetitive contractual terms is, “you either sign it or we

don’t do business.”

       106.    A 2006 report by the Milwaukee Journal Sentinel noted that, “Aurora’s contracts

go further [than most hospital systems]: They generally require Aurora hospitals to be included in

every health plan offered by an insurer or administrator.” An August 2022 analysis of AAH’s

currently accepted insurance coverage materials and of several insurance companies listed in-

network providers indicates that AAH appears to have an all-plans requirement on nearly all

insurance companies. Additionally, an analysis of several major insurance companies—including

WPS, Trilogy, Cigna, and others—indicates that insurance companies continue to either include

all overpriced AAH facilities in all their networks/plans or none in any. This structure is contrary

to the economic interest of commercial health plans and cannot be explained absent AAH’s

contractual restrictions like its all-plans requirement.

       107.    By virtue of its overall market power and/or its market power over acute inpatient

hospital services in certain key regions, AAH can and does impose its all-or-nothing and all-plans

conditions to force insurance companies (and by extension commercial health plans) to include

outpatient medical services in their networks at supracompetitive rates. For example, AAH

cancelled its entire contract with an insurance company because, according to AAH, the insurance

company sought a “carve-out” for radiology. In a competitive market and absent AAH’s restraints,

insurance companies and commercial health plans would normally use these kinds of carve-outs

to encourage members/employees to seek lower cost outpatient care from non-AAH providers.

But AAH forces its all-or-nothing and all-plans vertical restraints on insurance companies and

commercial health plans to suppress this type of competition.

       108.    These terms are forced on insurance companies who have to accept them because

of AAH’s market power. As WPS, a prominent insurance company, wrote, “If Aurora had not

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        Case 2:24-cv-00157-LA           Filed 02/05/24     Page 39 of 85      Document 1
possessed market power sufficient to condition WPS’s access to those markets upon WPS’s

acceptance of the Agreement’s anticompetitive terms and conditions, WPS would not have signed

the Agreement.”

      B.      AAH Punishes Innovative Insurance Products to Suppress Competition.

       109.    AAH has also aggressively used its market power to suppress the introduction of

innovative insurance products in Wisconsin. Absent AAH’s successful efforts to foreclose the

entrance of these cost-saving products, commercial health plans and their members in Wisconsin

would be paying significantly less for health care.

       110.    For example, effective October 1, 2020, AAH implemented a “policy” conveying

to insurance companies that it refuses to accept payment from or even submit claims to health

plans that use “reference-based pricing.” Health plans that use reference-based pricing base their

payments to hospital systems on a percentage above the hospital’s Medicare rates.12 Plans with

reference-based pricing allow hospitals to make a significant profit but limit the ability of hospitals

to charge supracompetitive prices relative to an accepted and government approved baseline (i.e.,

the Medicare rate, which itself is calculated to ensure a hospital makes a profit on each service).

These plans also promote competition by encouraging providers to compete on the basis of their

price relative to a well-established baseline.

       111.    In addition to pressuring insurance companies and commercial health plans to avoid

using innovative plans, AAH in practice turns down payment checks sent from health plans using

reference-based pricing. On information and belief, AAH forgoes immediate profit because it




12
  AAH itself makes a profit on Medicare’s rates, as detailed in recent comprehensive, independent
research that evaluated hospital profitability. Reference-based pricing plans pay a large percentage
above Medicare’s rates.
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        Case 2:24-cv-00157-LA          Filed 02/05/24       Page 40 of 85       Document 1
seeks to make these plans non-viable in the areas where AAH operates. Thus, AAH is consciously

forgoing profit in the short term to achieve its long-term goal of suppressing competition.

       112.    And AAH has created specific administrative burdens for the members of plans

using reference-based pricing, including refusing to provide standard forms and documentation.

On information and belief, this action was taken to prevent members from accessing their plan

benefits in order to undermine innovative plans.

       113.    AAH has also conveyed to representatives of a self-funded plan that it will not

directly negotiate with the plan, creating another barrier to innovative insurance products.

       114.    In another example, in 2008 AAH allegedly pressured an insurance company to

stop doing business with a TPA and health plans that AAH disfavored. AAH then falsely told

members of plans administered by that TPA that they would be refused service by AAH providers,

even if they were existing patients of AAH. On information and belief, AAH engaged in this and

other extreme measures that in the short term appear economically irrational and harmful to AAH’s

reputation with the goal of eliminating innovative insurance products from the Eastern Wisconsin

area. And, on information and belief, the insurance company agreed to AAH’s demand to cancel

a lucrative contract with a health plan only because of credible threats from AAH to use its market

power to punish the insurance company more broadly. Since then, AAH’s market power – and

therefore its ability to impose such restraints on insurance companies – has grown substantially.

And it has continued forcing these restraints on them.

       115.    AAH has taken other efforts to punish insurance companies attempting to offer

innovative insurance products. In one example, AAH sought to punish a network that did not

include AAH facilities; in response to the creation of a narrow network that excluded AAH, AAH

created a new insurance product that would cover the costs for members of the narrow network

who used AAH’s “out-of-network” facilities for only $20. This scheme, which effectively amounts

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        Case 2:24-cv-00157-LA         Filed 02/05/24      Page 41 of 85       Document 1
to predatory pricing, would eliminate the incentives for members of plans using the narrow

network to visit lower cost non-AAH providers. An insurer alleged that AAH was offering a

money-losing product with the intent of eliminating the narrow network: “It’s clearly a proposal

not designed to be self-sufficient.” This is another way AAH appears to engage in non-economic

decision making for the purpose of suppressing competition.

       116.     Given that many employers wish to use reference-based pricing and that they would

significantly reduce what they and their members pay for healthcare, AAH’s refusal to accept

payment from such plans and discrimination against them forecloses a substantial amount of

competition.

      C.       AAH Engages In “Anti-Steering” and “Anti-Tiering.”

       117.     During the relevant time period, AAH forced most insurance companies to accept

anti-steering and anti-tiering provisions in contracts that prevent insurance companies from

designing networks or commercial health plans that would result in expanded choice and/or

significant cost savings.

       118.     Through its coercive contracting practices, AAH deliberately limits the use of

tiering by commercial health plans in order to lessen the competition it faces from rivals offering

lower prices and higher quality.

       119.     Anthem, one of the largest insurers and Network Vendors in Wisconsin, told a local

self-funded health plan that “due to their contracts with the dominant player, which is Aurora,” it

was barred from allowing local employers to offer tiered health plans that would incentivize

employees to seek out lower cost, higher quality care. Through this action, AAH forced

commercial health plans to pay AAH’s supracompetitive rates more often than they would have

otherwise.



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        Case 2:24-cv-00157-LA         Filed 02/05/24     Page 42 of 85       Document 1
       120.    UnitedHealthcare, also one of the largest insurers and Network Vendors in

Wisconsin, told the same health plan that they were barred by AAH from allowing local employers

to offer tiered health plans that would incentivize employees to seek out lower cost, higher quality

care. Through this action, AAH forced commercial health plans and their members to pay AAH’s

supracompetitive rates more often than they would have otherwise.

       121.    Notably, AAH’s ability to force two of the country’s largest insurance companies

to accept such onerous, anticompetitive terms is itself evidence of the dominant market power

AAH enjoys throughout its entire service area, thus foreclosing the competition that steering would

create throughout all or nearly all of the market.

       122.    Indeed, the restraints AAH imposes on insurers foreclose competition in a

significant portion of the market, when measured by the market shares of the insurance companies

AAH has coerced into accepting these restrictive terms. Anthem and UnitedHealth control 69% of

the commercial health insurance market in Greater Milwaukee-Waukesha (which includes the

Milwaukee HSA, West Allis HSA, Hartford HSA, Port Washington HSA, parts of the

Oconomowoc HSA, parts of the West Bend HSA, the Cudahy HSA, the Menomonee Falls HSA

and the Brookfield HSA); 62% of the commercial health insurance market in Greater Sheboygan

(which includes the Sheboygan HSA and the Plymouth HSA), 52% of the commercial health

insurance market in Greater Green Bay (which includes the Green Bay HSA and the Kewaunee

HSA); and 57% of the commercial health insurance market in Greater Oshkosh-Neenah (which

includes the Oshkosh HSA and parts of the Berlin HSA). As noted above, similar restrictions have

been placed on WPS, which controls at least 2% of the statewide health insurance market (higher

in Eastern Wisconsin since several WPS networks are not sold in Northwestern Wisconsin). And

other data indicates that Anthem, UnitedHealth, and WPS combined control about 50% of the

insurance market statewide with a higher percentage in Eastern Wisconsin, covering all Relevant

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        Case 2:24-cv-00157-LA          Filed 02/05/24     Page 43 of 85       Document 1
Geographic Markets. WPS also stated that it and “every other major health insurer with which

Aurora has contracted, including United Health Group, Inc., WellPoint Health Networks, Inc.,

Humana, Inc., Aetna, Inc., and others, has been forced to accede to Aurora’s anticompetitive

interpretation of the all-plans requirement, regardless of the specific text of that requirement in

their respective contracts.”

       123.    Thus, AAH’s documented imposition of its anticompetitive restraints on Anthem,

UnitedHealth, and WPS foreclose competition in substantially over 55% of the health insurance

market in all Relevant Geographic Markets in Eastern Wisconsin (and over 70% in the Milwaukee

HSA and other nearby HSAs). And the actual foreclosure percentage is much higher based on

WPS’ statements and other evidence indicating that AAH’s restrictions are also imposed every

other major health insurer, including Aetna, Humana, WellPoint, Common Ground Healthcare,

Trilogy, Cigna, and others. These insurers collectively provide health insurance to the vast majority

of Wisconsinites, and they are prevented by AAH from using normal incentives and innovative

insurance products to encourage competition among healthcare providers. AAH’s conduct has thus

foreclosed a substantial amount of competition.

       124.    Another way AAH limits tiering is by insisting that it be in the top tier of any tiered

plan, even if it is a low-value provider relative to others. For example, in a review of several large

national and regional commercial health plans, AAH facilities are all listed in the top tier despite

being higher-cost than nearby competitors. This can only be explained by AAH forcing insurance

companies to include its facilities in a plan’s top tier, regardless of price or quality—thereby

defeating the purpose of creating a tiered plan in the first place. This results in commercial health

plans and their members paying AAH’s supracompetitive prices more often than they would absent

AAH’s conduct.



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        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 44 of 85       Document 1
       125.    AAH forces commercial health plans to include AAH in the top tier by threatening

that it would otherwise not allow any AAH facilities or outpatient providers to be included in the

plan at all, which would make the plan non-viable in many key markets. An AAH contract

specifically states that for any plan offered by a TPA, the plan “shall . . . [i]dentify all AURORA

Participating Providers as Participating Preferred Providers” (emphasis added). Member opts out

of Tier 1 status or participation in such product offerings.” The intent and practical impact of these

clauses is to limit the ability of health plans to honestly communicate about the availability of

lower-cost, higher value care available at non-AAH providers in Wisconsin, causing commercial

health plans and their members to pay AAH’s supracompetitive prices for care more often than

they would absent AAH’s conduct. These provisions also block rival providers from a primary

cost-effective means of competing on price and quality since AAH bars insurance companies from

rewarding rival providers that offer higher value services with a higher tier than AAH. And they

undermine insurance companies and TPAs’ attempts to develop lower-cost tiered network options

to compete with their rivals.

       126.    AAH also engages in other kinds of anti-steering and exclusionary conduct that

prevents insurance companies from designing networks that would result in expanded choice

and/or significant cost savings for commercial health plans and their members. For example, AAH

has in the past prevented an insurance company that wanted to direct patients to non-AAH

radiology centers (presumably because of their lower cost) from accessing any of AAH’s network.

Based on AAH’s uniform imposition of other restrictions like anti-tiering and all-or-nothing on all

or nearly all insurance companies, on information and belief, AAH imposes these same types of

anti-steering and exclusionary provisions on all or nearly all insurance companies including Aetna,

Cigna, Humana, Trilogy, Common Ground Healthcare, Wisconsin Physicians Service, United

Healthcare, Quartz, and others.

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        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 45 of 85       Document 1
        127.    In addition to undermining the tiered commercial health plans that do exist, AAH’s

aggressive anti-tiering practices also mean that insurance companies will decline to introduce

tiered networks in the first place because they would serve little purpose in a market where AAH

is a major provider. For example, Trilogy, Cigna, Wisconsin Physician Service and other insurance

companies do not offer tiered networks in AAH service areas despite some of them offering tiered

plans outside of AAH’s service area. This results in commercial health plans and their members

(including Plaintiffs) paying AAH’s supracompetitive prices more often than they would in a

competitive market with more tiered plans.

        128.    Because steering practices and tiered plans are a common cost-saving tool that most

insurance companies would engage in absent AAH’s restraints, AAH’s conduct prohibiting

purchasers from engaging in this conduct forecloses a substantial amount of competition.

      D.       AAH Uses Non-Competes, Referral Restrictions, and Other Tactics To Suppress
               Competition and Increase Prices.

        129.    AAH has forced physicians to agree to onerous non-compete agreements that limit

their ability to work for other hospital systems in Wisconsin or to open independent practices. This

anticompetitive practice drives up prices for commercial health plans and their members because

it precludes numerous potential lower-cost independent providers from operating. It also increases

prices by artificially creating a tighter labor market for physicians, creating an impediment to rival

hospital systems opening new locations to compete with AAH.

        130.    AAH’s non-competes have been found by a Wisconsin court to be unlawful.

        131.    For example, in one case, AAH attempted to enforce an aggressive non-compete

against a family practice physician. Family practice is a very competitive market where providers

compete for patients. It also is a practice that can generate a significant amount of business for a

hospital due to referrals.


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        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 46 of 85       Document 1
       132.    In this instance, AAH attempted to enforce a non-compete to prevent a family

practice doctor from practicing, even though the non-compete only covered urgent care. Despite

the physician not having provided urgent care in decades, AAH sought to bar them from practicing

even in a different field. The Milwaukee County Circuit Court found AAH’s non-compete

provisions unenforceable.

       133.    AAH’s non-competes have eliminated or suppressed competition in the family

practice market and, on information and belief, the same type of non-competes have eliminated or

suppressed competition in other outpatient services.

       134.    AAH also forces onerous non-competes on physicians it acquires from other

practices. For example, as part of its abandoned effort to purchase a hospital chain in Michigan,

AAH insisted that many doctors of the acquired hospitals would be required to sign a non-compete

preventing them from working for any other hospital system within 35-miles for at least three

years. The long duration and broad geographic limitations of such coerced non-competes result in

substantial reductions in competition in markets where AAH acquires facilities by preventing the

entry of new provider competitors and limiting the options for members of commercial health

plans to seek higher value care at non-AAH facilities.

       135.    A medical professional who has worked at both AAH and Froedtert remarked in an

online post that AAH “is known for problematic non-compete agreements.”

       136.    Beyond non-competes, AAH also forces anti-competitive terms on independent

physicians who work in its facilities.

       137.    For example, according to a 2013 lawsuit, in an apparent effort to punish

independent physicians who do not agree to directly affiliate with AAH, AAH instituted a policy

that required 24-hour a day, 7-day a week continuous call coverage for independent physicians

and then denied the independent physicians the ability to seek backup call coverage from another

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        Case 2:24-cv-00157-LA            Filed 02/05/24   Page 47 of 85    Document 1
physician. If independent physicians did not agree to these “nearly impossible conditions,” AAH

would refuse to renew medical staff privileges. Meanwhile, AAH’s own employed physicians were

allowed to exchange call coverage or seek backup call coverage.

       138.    According to a local physician, this policy encouraged the “systematic elimination

of independent physicians by Aurora” and “reduced the overall output of family practice

physicians for patients” in the Oshkosh market.

       139.    The American Academy of Family Physicians criticized AAH’s policy saying it

was “unreasonable and contrary to good practices and federal law.”

       140.    Moreover, in 2018, AAH agreed to settle claims that it illegally overpaid two

physicians so that they would keep referrals within the AAH system.

       141.    AAH has engaged in other practices to aggressively limit physicians from referring

outside of the AAH system to competitors. For example, during an acquisition of a group of

outpatient providers, AAH insisted that, as part of the acquisition, it be able to impose a provision

that would require the acquired providers to “exclusively” refer to AAH facilities. And as a

Wisconsin newspaper columnist wrote, more broadly, “Aurora Health Care has set the standard by

buying up physician practices and clinics and forcing doctors to send patients to Aurora’s

hospitals.” These practices drive up costs and reduce quality for commercial health plans and their

members by preventing physicians from referring patients to the highest value care. And they limit

the ability of independent specialty providers to compete by cutting off a source of referrals. This

coercion of physicians to force referrals to overpriced AAH hospitals is an abuse of AAH’s market

power that raises prices for commercial health plans and their members and is another way AAH

forecloses competition.




                                                  45

        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 48 of 85      Document 1
        142.    Because absent AAH’s anticompetitive conduct independent physicians would

 compete for patients and would assist other hospitals in competing for referrals, AAH’s restrictions

 have foreclosed a substantial amount of competition.

       E.      AAH Uses Gag Clauses to Suppress Competition and Further Its Other
               Anticompetitive Schemes.

        143.    AAH insists on strict gag clauses with insurance companies that limit their ability

 to disclose anticompetitive contract terms to commercial health plans. These gag clauses have also

 been used by AAH to prevent commercial health plans and their members from knowing the price

 for AAH’s services before the provision of care. This directly suppresses price competition.

        144.    The Wall Street Journal identified AAH as among several hospital systems in the

 United States that use “secret contract terms” to prevent transparency on prices and quality.13

        145.    In properly functioning markets pricing information is freely available, allowing

 purchasers to determine the prices they will be obligated to pay their suppliers if they purchase the

 suppliers’ products and services. The ability to determine the amount of the purchase price before

 the purchase decision is made allows the customer to compare the prices offered by various

 competitors and allows the purchase decision to be influenced by price competition.

        146.    AAH has required terms in its agreements with insurers that forbid them from

 disclosing the allowed amounts that AAH has negotiated for the healthcare services and products

 offered to commercial health plans and their members. An insurance company in Wisconsin stated

 that negotiated prices between insurers and AAH are, “a closely guarded secret” and “subject to

 confidentiality restrictions” in AAH’s contracts. AAH’s gag clauses also forbid disclosure of other,

 non-price terms.


13
  Anna Wilde Mathews, Behind Your Rising Health-Care Bills: Secret Hospital Deals that Squelch
Competition, Wall St. J. (Sept. 18, 2018), https://www.wsj.com/articles/behind-your-rising-health-
care-bills-secret-hospital-deals-that-squelch-competition-1537281963.
                                                  46

         Case 2:24-cv-00157-LA          Filed 02/05/24      Page 49 of 85      Document 1
       147.    On information and belief, these gag clauses are partially intended to prevent

knowledge or scrutiny of other anticompetitive contracting terms like all-or-nothing, all-plans,

anti-tiering, anti-steering, and contract termination penalties.

       148.    Because AAH’s gag clauses prevented commercial health plans and their members

from determining what they will be obligated to pay AAH for healthcare services (and how much

those prices exceed the prices charged by AAH’s nearby competitors), commercial health plans

are less able to exert commercial pressure on AAH to moderate its inflated pricing by sending

members to other providers.14

       149.    AAH’s use of gag clauses and other anticompetitive terms has effectively

undermined price competition for healthcare in the Wisconsin markets AAH serves and foreclosed

a substantial amount of competition. These gag clauses also substantially reduced AAH’s rivals’

incentives to compete on price because a rival providing a lower price product will not necessarily

attract consumers to select the rival’s product if consumers are barred from knowing the price of

AAH’s products relative to the rival.

      F.      The Combination of AAH’s Anticompetitive Conduct is Especially Harmful.

       150.    AAH’s market power aggravates the anticompetitive nature of its contracting and

negotiating tactics. The forced imposition of all-or-nothing and all-plans conditions, as well as

anti-tiering and anti-steering provisions is problematic any time it is imposed on insurance

companies and commercial health plans by a dominant provider, because each such contractual

term limits the ability of commercial health plans and their members to competitively select


14
  These provisions also inhibited insurers’ ability to offer cost-efficient products for commercial
health plans because AAH’s gag clauses prevented insurance companies from knowing anything
about the relative prices they are negotiating. On information and belief, while discussing AAH’s
contracts, an insurance company in Wisconsin said that knowing its own negotiated rates are only
useful, “assuming it can learn something about its competitors’ deals with that same provider.”
AAH’s gag clauses foreclosed that relative comparison and the competition that would result.
                                                  47

        Case 2:24-cv-00157-LA           Filed 02/05/24      Page 50 of 85    Document 1
healthcare options. However, in the context of a hospital system with both significant market

power and monopoly facilities, these contract provisions have an especially harmful impact on

price and quality. This is particularly true—and such restrictions are particularly anticompetitive—

when they are forced on nearly all insurance companies in the region, against their will. That is

exactly what AAH has done.

       151.    Importantly, each of AAH’s anticompetitive restrictions on insurance companies

and commercial health plans cause greater harm in concert than any individual vertical restraint

would in isolation. For example, if AAH engaged only in all-or-nothing contracting but did not

impose anti-steering, anti-tiering, or gag clauses on insurance companies, commercial health plans

could at least mitigate harm caused by AAH’s tying schemes by incentivizing their members to

obtain in-network care from one of AAH’s competitors. Thus, while each contractual restriction

described herein is unlawful in isolation, taken together their impact is especially harmful to

commercial health plans and their members as well as to AAH competitors.

     G.       AAH’s Acquisition Strategy Suppresses Competition and Allows AAH to Impose
              Broader Anticompetitive Contractual Terms.

       152.    AAH has gone on an aggressive acquisition spree that increases its market power

and the leverage it holds over insurance companies and commercial health plans. In 2020, AAH’s

CEO touted a “bold new strategy” to double AAH’s annual revenue by 2025 via mergers and

acquisitions. AAH’s Executive Vice President actually publicly stated that AAH’s intention is to

be a “multi-market consolidator.”

       153.    This acquisition strategy has several self-reinforcing anticompetitive benefits for

AAH. First, AAH is able to impose higher prices at facilities it acquires than the previous owner

because of its use of the anticompetitive contracting terms described above. After AAH takes over

a new facility, it employs the anticompetitive contracting terms described above in negotiations

with insurance companies at the newly acquired facility. For example, during a proposed AAH
                                                 48

        Case 2:24-cv-00157-LA         Filed 02/05/24      Page 51 of 85      Document 1
 takeover in Michigan, Crain’s Detroit Business summarized the arguments from AAH’s CEO as:

 “Advocate Aurora wants Beaumont’s physicians to expand its managed care contracting strategy

 with payers and employers to Michigan.”15 A May 2022 study supports the idea that affiliations

 and acquisitions of independent physician practices—like those AAH has aggressively engaged

 in—raise prices: “We found strong evidence that vertical integration and joint contracting between

 physicians and large health systems during 2013–17 led to large increases in physician prices,

 particularly for primary care physicians. Our findings complement a literature that has found

 increases in physician prices associated with hospital acquisitions of physician practices.”

        154.    Second, the newly acquired facilities further increase AAH’s leverage with

 insurance companies and commercial health plans, thereby reinforcing AAH’s ability to force

 insurance companies and commercial health plans to accede to anticompetitive contracting terms.

 As the CEO of AAH stated in 2020: “Every time we’ve scaled up, we’ve gotten stronger.”16

        155.    Third, AAH leverages its market power to force newly acquired physicians and

 facilities to refer to AAH, depriving health plans of the benefit of having their members referred

 to the highest value provider and suppressing competition by eliminating a source of revenue for

 AAH competitors. AAH executive Pat Trotter was explicit that AAH aims to “leverage” its overall

 market power to control referrals in new markets it enters. The Appleton Post-Crescent described

 AAH’s public statements: “Aurora, however, can leverage the advantages of its larger size by

 referring patients to other in-system hospitals for care if they need it, Trotter said.”




15
   Jay Greene, Why Advocate Aurora Wants a Beaumont Doctor, Crain’s Detroit Bus. (Sept. 5, 2020),
https://www.modernhealthcare.com/providers/why-advocate-aurora-wants-beaumont-doctor-5000-
them-and-wants-them-be-happy.
16
   Bruce Murphy, Aurora Health Care Merger is Bad News, Urban Milwaukee (Mar. 10, 2020),
https://urbanmilwaukee.com/2020/03/10/murphys-law-aurora-health-care-merger-is-bad-news/
                                                    49

         Case 2:24-cv-00157-LA           Filed 02/05/24      Page 52 of 85       Document 1
        156.    This increased leverage is especially true when AAH acquires another “must have”

 hospital facility. For example, in mid-2019, AAH purchased the only hospital in Marinette,

 Wisconsin which is now renamed Aurora Medical Center Bay Area. This facility is a must-have

 hospital for nearby commercial health plans in both Wisconsin and Michigan.

        157.    AAH has also worked to acquire outpatient facilities and other non-hospital assets

 that increase its market power. According to Fitch, a leading bonds rating agency, AAH now has

 one of largest integrations of physicians of any firm in the hospital industry. Or, as a Wisconsin

 newspaper columnist wrote, “Aurora Health Care has set the standard by buying up physician

 practices and clinics and forcing doctors to send patients to Aurora’s hospitals.”17

        158.    This strategy of non-hospital acquisitions adds to AAH’s overall market power and

 is part of its attempt to suppress competition for outpatient medical services in Eastern Wisconsin

 and to ensure that members of commercial health plans are more likely to be directed to their high-

 cost inpatient facilities. AAH executives appear to have hinted at this strategy publicly, with the

 CEO of AAH saying in a 2020 article that growing AAH’s number of affiliated or employed

 physicians is “our secret sauce,” with the article noting that the desired outcome for AAH was to

 get paid more.18 In 2021, the President of AAH’s buyout fund was remarkably candid about AAH’s

 goals: “One way we measure that is what we call ‘share of wallet,’ which is a sort of a retail

 measure of how many times and in what ways are we interacting with the people we serve beyond

 just traditional care delivery, and does that generate more revenue?”

        159.    In 2008, AAH acquired Comprehensive Cardiovascular Care Group, which was

 described as “the largest cardiology group in Wisconsin.” That acquisition resulted in the U.S.



17
   Mark Belling, ‘Nonprofit’ hospital companies chase profits; Low-income patients orphaned as
hospitals build suburban palaces, Oconomowoc Enterprise (April 12, 2018.)
18
   Greene, supra note 15.
                                                  50

         Case 2:24-cv-00157-LA         Filed 02/05/24      Page 53 of 85       Document 1
 Department of Justice alleging in 2018 that some of the acquired physicians’ “compensation

 arrangements were not commercially reasonable . . . exceeded the fair market value of the

 physicians’ services, took into account the physicians’ anticipated referrals, and was not for

 identifiable services.” AAH subsequently settled the case for $12 million for the alleged

 overcharges to government health programs resulting from its payments to physicians for

 referrals.19 On information and belief, the same practice of compensating cardiologists and other

 specialists in order to obtain more internal AAH referrals also has improperly increased prices for

 commercial health plans and their members. This occurs because AAH’s above-market payments

 to acquired physicians result in them directing members of commercial health plans to higher-cost

 care at AAH facilities instead of the best value care.

        160.    In 2007, AAH announced a “broad affiliation agreement” with Advanced

 Healthcare, a group of “250 primary care physicians and specialists providing care at 14 clinics

 located in Milwaukee, Ozaukee, Washington and Waukesha counties.” On information and belief,

 part of the reason for this affiliation was to eventually allow AAH to use its market power to

 substantially raise prices paid by commercial health plans and their members for services at these

 locations. Shortly after the acquisition, local reporting indicated that AAH would impose its “all-

 or-nothing” contracting on insurance companies, forcing them to include the facilities built to

 house the newly acquired physicians from Advanced Healthcare in their networks if they needed

 access to any part of the AAH system.

        161.    After the Advanced Healthcare acquisition, AAH announced plans to build a new

 hospital in Grafton, Wisconsin that, among other things, would allegedly house some of the newly



19
  Press Release, U.S. Dep’t of Just., Aurora Health Care, Inc. Agrees to Pay $12 Million to Settle
Allegations Under the False Claims Act and the Stark Law (Dec. 11, 2018), https://www.justice.gov/
usao-edwi/pr/aurora-health-care-inc-agrees-pay-12-million-settle-allegations-under-false-claims-act.
                                                   51

         Case 2:24-cv-00157-LA          Filed 02/05/24    Page 54 of 85       Document 1
acquired AAH physicians. Executives from a different hospital system claimed that their analysis

of health care data showed that a new hospital was not necessary in the area based on population.

AAH built a new 107-bed facility anyway. In the following years, the next closest non-AAH

hospital immediately lost a significant portion of its patients, forcing layoffs and restructuring.

This reduction in competition is directly linked to AAH’s other anticompetitive conduct: Because

of its all-or-nothing, all-plans, anti-steering, anti-tiering, and gag clause provisions, the competitor

hospital would have been unable to effectively compete for business from commercial health plans

on price and quality. Thus, AAH was able to build a new hospital where adequate demand

allegedly did not exist and gain significant market share by leveraging its broader system power

and imposing anticompetitive provisions on insurance companies. Because of these actions, AAH

has gone from being a non-meaningful inpatient provider in Grafton, Wisconsin to controlling

nearly 76% of inpatient admissions in the larger Port Washington HSA.

       162.     This reflects a broader trend of AAH entering markets that do not have adequate

demand with the goal of suppressing competition. As the Senior Associate Dean for Clinical

Affairs for the Medical College of Wisconsin stated of AAH’s business practices generally: “They

say they’re bringing in choice. . . . There’s a concern they’re bringing in duplication of services. I

think it’s the latter. They have a track record of that. . . . Is this adding choice or unnecessary

redundancies, which will raise the cost of care?” This type of expansion into areas that do not have

adequate demand can only be successful in the presence of anticompetitive practices imposed on

insurance companies, commercial health plans, and independent providers.

       163.     For example, in 2010, AAH opened the Aurora Summit Medical Center in

Oconomowoc less than four miles from the existing Oconomowoc Memorial Hospital. At the time,

Oconomowoc Memorial Hospital was nowhere near capacity and local reporting indicated there

was not adequate demand for a second hospital nearby. Nevertheless, AAH opened the facility and

                                                   52

        Case 2:24-cv-00157-LA           Filed 02/05/24      Page 55 of 85        Document 1
 tolerated less than 35% inpatient occupancy. Local reporting indicated that the occupancy

 percentage would have been even lower had AAH not acquired a number of independent

 physicians. On information and belief, AAH imposed the same types of non-competes and referral

 restrictions on those doctors as is its normal business practice in order to reduce business to

 Oconomowoc Memorial Hospital.

            164.   The outcome is that AAH has secured 38% of the inpatient market share in the

 Oconomowoc HSA, up from virtually none ten years ago. That market share has continued to

 increase in the last several years from 31% in 2016.

            165.   AAH’s growing market power is also reflected in its ability to control prices:

 According to data released in May 2022, AAH’s inpatient prices at Aurora Summit Medical Center

 are 446% of Medicare compared to only 297% of Medicare less than four miles away at

 Oconomowoc Memorial Hospital.20 This is despite Oconomowoc Memorial Hospital having

 higher quality ratings than Aurora Summit Medical Center from the US Government’s Centers for

 Medicare and Medicaid Services.

            166.   Despite having lower prices and higher quality than Aurora Summit Medical

 Center, Oconomowoc Memorial Hospital’s inpatient visits have declined almost every year AAH

 has operated Aurora Summit Medical Center. Oconomowoc Memorial Hospital’s inpatient visits

 have declined from 4,563 in 2009 (the year before AAH opened Aurora Summit Medical Center)

 to 3,141 in 2010 and now steadily down to 2,948 in 2021, despite the overall number of inpatient

 visits in the Oconomowoc HSA increasing substantially over that time period.

            167.   Oconomowoc Memorial Hospital has a very slim profit margin per inpatient visit.




20
     Whaley, et al., supra note 2.
                                                   53

            Case 2:24-cv-00157-LA       Filed 02/05/24     Page 56 of 85     Document 1
While Aurora Summit Medical Center makes $4,341 average profit per inpatient visit and the

Wisconsin state average is $3,048 profit per inpatient visit, Oconomowoc Memorial Hospital now

makes only $1,168 per inpatient visit. Overall, Oconomowoc’s margin is only 4%, lower than any

other ProHealth or AAH hospital in Wisconsin and lower than AAH’s 23% profit margin at Aurora

Summit Medical Center. These very thin margins—that have fallen into a loss as recently as

2017—create a dangerous probability that Oconomowoc Memorial Hospital will be forced to

reduce or close inpatient services that account for about 40% of the Oconomowoc HSA, with the

resulting benefit to AAH. If Oconomowoc Memorial Hospital closes or downsizes, this will harm

commercial health plans and their members because AAH will be able to raise its prices further

while reducing quality.

       168.    AAH’s attempted monopolization of the Oconomowoc HSA inpatient market has

been facilitated by anticompetitive behavior. The dramatic price difference for inpatient care

between AAH’s Aurora Summit Medical Center and Oconomowoc Memorial Hospital would not

be possible absent AAH’s use of all-or-nothing, all-plans, anti-steering, anti-tiering, and gag

clauses. If insurance companies (like Cigna, Aetna, Anthem, Trilogy, Quartz, Humana, and

others), and commercial health plans were free to direct their members towards lower cost care,

Oconomowoc Medical Center would see a substantially higher inpatient market share and inpatient

occupancy than Aurora Summit Medical Center. As described earlier, AAH’s non-competes and

referral restrictions limit both staffing availability and patient flow for competitors like

Oconomowoc Medical Center. And, as documented earlier, AAH has taken action to undermine

nearby innovative health plans that would foster price competition, including its effort to suppress

reference-based pricing plans.

       169.    On information and belief, AAH has pursued a similar strategy of attempted

monopolization of inpatient care in other HSAs in Wisconsin using the same types of tactics.

                                                 54

        Case 2:24-cv-00157-LA         Filed 02/05/24      Page 57 of 85       Document 1
       170.     Similarly, AAH acquired a large outpatient practice called Family Health Plan,

which the Milwaukee Business Journal characterized as, “a transaction that would further add to

Aurora’s dominance of the southeastern Wisconsin market.” During the acquisition, AAH insisted

that, as part of the acquisition, it be able to impose a provision that would require the acquired

Family Health Plan providers to “exclusively” refer to AAH facilities. This provision was

projected to be “crippling” for other health care providers in the area. On information and belief,

it was only possible for AAH to insist on the exclusive referral provision because it knew that

insurance companies and commercial health plans (who, along with their members, would be

forced to pay higher costs as their members are exclusively referred to higher cost AAH facilities)

could not challenge the clearly anti-competitive provision because of AAH’s market power, and

because AAH knew that the resulting higher costs would be passed onto health plan members

(which they then were).

       171.     The acquisition worked as AAH appears to have intended: The hospital that press

reports predicted “stands to lose the most if Aurora buys Family Health Plan’s medical group and

clinics” ended up quickly facing “the biggest decline in net income by percentage of any

Milwaukee-area hospital” after the AAH transaction. And, about six years later, a competitor

hospital was forced to close since it “doesn’t have the ability to fund indefinitely the types of losses

we’ve incurred,” according to the competitor’s CEO. On information and belief, this closure

significantly increased costs for commercial health plans and their members over the following

years by eliminating an AAH facility that was a lower cost option for healthcare.

        172.    In late 2010, the Milwaukee Journal Sentinel reported that AAH’s other recent

acquisitions have included “a large radiology practice, and the practices of the heart surgeons and

related specialists who practice at Aurora St. Luke's Medical Center.” On information and belief,

these acquisitions were partly driven by the ability of AAH to impose higher prices for the exact

                                                   55

        Case 2:24-cv-00157-LA           Filed 02/05/24      Page 58 of 85        Document 1
same imaging services on commercial health plans and their members after the radiology

acquisition and to control referrals to and from these facilities.

       173.    In 2013, AAH acquired The Manitowoc Surgery Center which reduced competition

for outpatient services in the region. AAH described the goal of the acquisition as increasing

“outpatient surgery services within Aurora’s integrated health care system.” On information and

belief, the acquisition was partly driven by the ability of AAH to impose higher prices for the exact

same surgery services, by the desire to reduce competition from outpatient surgery centers that

academic literature has indicated provide effective and lower-cost competition to hospitals, and by

the desire to use referral restrictions to direct more patients in the Manitowoc HSA to AAH

inpatient facilities, where AAH now controls over 47% of inpatient admissions.

       174.    In 2016, the Wisconsin Heart Hospital in Wauwatosa closed. This closure took

place after independent providers reported they were “punished” by AAH for investing in or being

affiliated with the Wisconsin Heart Hospital, including a well-documented decision by AAH to

remove a respected physician from the role of medical director at AAH’s Aurora West Allis

Hospital because of her affiliation with the Wisconsin Heart Hospital. Physicians and medical

associations also expressed concern that AAH was using coercive referral practices to force

specialist physicians to refer to AAH instead of competitors, including Wisconsin Heart Hospital.

On information and belief, AAH’s actions contributed to the closure of Wisconsin Heart Hospital,

eliminating a potential competitor that could have contained costs, particularly in the Milwaukee

and West Allis HSAs.

       175.    After AAH acquired a home care company for seniors in 2021, the CEO of AAH’s

internal buyout fund stated that, “This opens a lot of opportunities for us, thinking about what we

can be in the broader healthcare continuum. How do you control the overall continuum? How do

you own it? It’s very hard for one person, one company or one organization to have all of the parts.

                                                   56

        Case 2:24-cv-00157-LA          Filed 02/05/24       Page 59 of 85     Document 1
 Well, I think we’re the first organization in the country that now can say we own the full healthcare

 continuum.”21

           176.    In its largest financial transaction in the past decade, AAH was created by the

 merger of Aurora Health Care in Wisconsin and Advocate Health Care in Illinois. This merger

 made AAH one of the largest hospital systems in the country. The transaction both increased

 AAH’s combined market power in Southeastern Wisconsin and Northeastern Illinois22 and

 increased AAH’s overall leverage over insurance companies, especially those with networks

 designed for commercial health plans with members in both Illinois and Wisconsin. AAH is thus

 in an even stronger position to impose anticompetitive terms on insurance companies and to extract

 supracompetitive prices from commercial health plans and their members.

       177.       Even before the merger, AAH was acquiring physician groups in Northern Illinois.

       178.       The CEO of a Wisconsin company with a self-funded health plan remarked that the

merger would raise prices for Wisconsin self-funded health plans and their members like his,

writing:

                   For the life of me, I [can’t] see how the proposed mega-merger between
                   Aurora Health Care of Wisconsin and Advocate Health Care Network of
                   Illinois will benefit payers like my company Serigraph or its co-workers.
                   The main rationale for the executives and boards of the two non-profit
                   corporations must be that bigger is better in a rapidly changing and
                   consolidating industry. They must believe they will have more clout when
                   dealing with the major health insurance carriers. But more clout on the




21
   Robert Holly,“We Own the Full Health Care Continuum”: Advocate Aurora Enterprises Acquires
Senior Helpers, Home Health Care News (Apr. 1, 2021) (emphasis added),
https://homehealthcarenews.com/2021/
04/we-own-the-full-health-care-continuum-advocate-aurora-enterprises-acquires-senior-helpers.
22
  For example, Aurora controlled about 32% of inpatient admissions in the border community of
Winthrop Harbor, Illinois before the merger to about 41% of inpatient admissions after the merger.
Commercial health plans based in Illinois paid AAH for services in Wisconsin before the merger and
paid AAH for services in Wisconsin and Illinois after the merger.
                                                   57

           Case 2:24-cv-00157-LA         Filed 02/05/24     Page 60 of 85      Document 1
                provider side means higher prices, not lower. Do corporations seek more
                leverage so they can lower prices? Don’t be naïve.23

       179.    After the merger, inpatient prices increased at AAH facilities in Wisconsin. This is

reflected in the median net profit margin AAH earned from patients increasing over 20% for its

facilities in Wisconsin from 2017 to 2019. This merger and resulting market power growth has

already resulted in higher prices for Wisconsin commercial health plans and their members and will

continue to as AAH’s misuse of its ever-growing market power continues.

       180.    Similarly, inpatient prices increased at AAH’s facilities in Illinois with the median

net profit margin AAH earned from patients increasing from 7.1% in 2017 (the last full year before

the merger) to 7.8% (the first full year after the merger). As alleged above, there is significant

evidence that AAH uses its market power to impose supracompetitive prices and anticompetitive

contract terms at newly acquired facilities. A nearly 10% growth in inpatient net profit margins for

AAH Illinois facilities immediately after a merger fits that well-documented pattern for AAH.

       181.    And the academic literature supports the fact that prices have increased at AAH’s

newly integrated Illinois and Wisconsin facilities because of market power. As the Kaiser Family

Foundation wrote, “One reason that prices rise when there are hospital mergers across markets is

that they increase hospital bargaining positions with insurers, which seek to have strong provider

networks across multiple areas in order to attract employers with employees in multiple locations.”

       182.    AAH has not stopped there. It has since merged with Atrium Health of North

Carolina, a combination that created a conglomerate that does business in seven states. This merger

has further increased AAH’s market power with insurance companies, especially the insurance

companies who operate in both the existing AAH and Atrium markets, according to healthcare


23
  John Torinus, Will Aurora Merger Pay Off for Customers?, John Torinus: Blog, https://johntorinus.
com/general-blog/health-care-economics/will-aurora-merger-pay-off-customers (last visited Jan. 31,
2024).
                                                  58

         Case 2:24-cv-00157-LA         Filed 02/05/24      Page 61 of 85      Document 1
economists. Separately, Professor Barak Richman of Duke University said that the merger was

“very, very alarming” and would likely lead to higher prices. “This does not point to a new frontier

of competition. It points to a new scale of lack of competition. A new scale of monopoly power,”

Richman said.

       183.     And AAH’s abuse of its monopoly power directly harms members of commercial

health plans, like Plaintiffs. As explained above, due to AAH’s all-or-nothing negotiating and

anticompetitive contractual provisions, commercial insurance plans have no choice but to accept

these new facility fees. Commercial health plans then pass these overcharges onto their members,

both individuals and employers, in the form of higher insurance premiums. Members also pay higher

prices directly in the form of higher co-pays, co-insurance, and other out-of-pocket expenses.

VIII. AAH’S ANTICOMPETITIVE CONDUCT CAUSES ARTIFICIALLY INFLATED
      PRICES AND SUPPRESSES QUALITY.

       A.       AAH’s Prices Drive Costs for Commercial Health Plans and Their Members.

       184.      Prices set by hospital systems like AAH are the primary driver of cost for

commercial health plans and their members. And, as explained previously, AAH’s anticompetitive

conduct allows it to set supracompetitive prices that commercial health plans and their members

must pay. Commercial health plans and their members have made billions of dollars in payments

to AAH at the supracompetitive price levels AAH’s unlawful conduct has enabled it to charge.

         185.    A Harvard University analysis concluded that, “Variation in spending in the

 commercial insurance market is due mainly to differences in price markups by providers rather

 than to differences in the utilization of healthcare services. . . . 70 percent of variation in total

 commercial spending is attributable to price markups, most likely reflecting the varying market

 power of providers.”




                                                  59

         Case 2:24-cv-00157-LA          Filed 02/05/24      Page 62 of 85      Document 1
       186.    In fact, a Milwaukee Journal Sentinel report on AAH’s acquisition and negotiation

strategy noted that, contrary to Aurora’s claims of improved efficiency, studies have found that

consolidation gives hospital systems more leverage in negotiating higher prices.

       187.    As explained below, in Milwaukee specifically healthcare prices are inexplicably

high considering the ostensible level of competition in the market. The unjustifiably high prices

paid by Eastern Wisconsin commercial health plans and their members are made possible by

AAH’s anticompetitive behavior and are evidence of AAH’s market power and ability to control

prices in both the inpatient and outpatient markets.

       188.    These data make clear that AAH’s anticompetitive conduct facilitates the

supracompetitive prices it charges to commercial health plans and their members in all the HSAs

where AAH operates. Under federal and state antitrust and unfair trade practices precedents, when

vertical restraints like those AAH has forced on insurance companies lead to higher prices and

lower quality, that is direct evidence that they are anticompetitive.

      B.      AAH Charges Supracompetitive Prices in Milwaukee.

       189.    Milwaukee employers and residents pay extraordinarily high prices for healthcare.

Overall, Milwaukee has the fourth highest prices for healthcare in the entire country with overall

prices 44% above the national median. Indeed, Milwaukee’s healthcare prices are higher than those

in New York City. Overall healthcare spending per person in the Milwaukee metro area is 21%

above the national median, making it the seventh highest metro area in the country for per person

healthcare spending.

       190.    Moreover, Milwaukee’s already high prices are continuing to rise: From 2015 to

2019, hospital prices rose in Milwaukee at the fifth highest rate of any market in the entire country.

       191.    These high prices are despite the existence—on paper—of a healthy level of

competition in Milwaukee. This competition should control prices. But the vertical restraints

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        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 63 of 85       Document 1
described above that AAH has used to undermine competition have been key drivers of

Milwaukee’s extraordinarily high healthcare costs.

       192.    AAH is by far the most expensive hospital system in Milwaukee, charging

supracompetitive prices for inpatient and outpatient procedures and significantly driving up the

cost of healthcare for commercial health plans and their members that have paid AAH’s

supracompetitive prices in Milwaukee and nearby HSAs.

       193.    A comparison of inpatient prices shows that AAH’s prices are 65% more expensive

than an average of the other large hospitals in the Milwaukee area. This dramatic price differential

within a market is one of the highest in the country.

       194.    Overall, AAH’s prices at its flagship facility in Milwaukee are 373% of the

Medicare rates, compared to a state average of 307%, according to data published in May 2022.

This is despite the fact that AAH itself makes a profit on Medicare rates as detailed in a

comprehensive independent recent report evaluating hospital profitability.

       195.    For example, prices for common procedures at Aurora St. Luke’s Medical Center

are dramatically higher than they are at Ascension St. Francis Hospital, a facility only 5 minutes

away with similar quality ratings.

       196.    Similarly, prices are higher at AAH’s St. Luke’s facility than they are at Froedtert

Hospital, a different competitor less than 20 minutes away that is generally rated as providing

higher quality by patients and safer by independent ratings agencies. US News and World Report

ranks Froedtert Hospital as the number one hospital in Milwaukee, and a higher percentage of

patients would recommend Froedtert Hospital than would recommend AAH’s St. Luke’s

according to Healthgrades.




                                                 61

        Case 2:24-cv-00157-LA         Filed 02/05/24      Page 64 of 85       Document 1
       197.    When evaluating prices for specific procedures, academic literature suggests one

useful analysis is comparing “narrowly defined” procedures, i.e., those that have little variation

within the procedure and occur with sufficient frequency to support empirical analysis.

       198.    One example of a “narrowly defined” procedure that is also a very high revenue

procedure for hospitals is a joint replacement. For a major commercial network, AAH’s price for

a hip or knee replacement in Milwaukee is $62,538, over $21,000 higher than the price for the

same procedure five minutes away at a competitor hospital. Charging customers approximately

50% more than a nearby competitor for a common procedure would not be possible in a

functioning, competitive market. This price differential cannot be explained by AAH’s market

power in Milwaukee, where it only controls about 40% of the market for acute inpatient hospital

services. Thus, this price differential is the result of the anticompetitive contracting restrictions

AAH imposes on insurance companies and commercial health plans in Milwaukee, by virtue of its

dominant power both systemwide and over the AAH Monopolized Inpatient Markets.




       199.    For other very common surgeries, including appendectomies and angioplasties,

AAH charges supracompetitive prices. For both procedures, AAH’s price is almost double that of



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        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 65 of 85      Document 1
Ascension, the other main competitor in Milwaukee. For appendectomies, AAH’s price is $46,002

compared to $24,172 at Ascension. For angioplasties, AAH’s price is $79,880 compared to

$43,319 at Ascension.




       200.   For inpatient treatment of other common diseases like sepsis, pneumonia,

esophagitis, and heart failure, AAH is also significantly more expensive than other hospitals in

Milwaukee. AAH is 54-105% more expensive than Ascension for those procedures and 15-53%

more expensive than Froedtert for those procedures.




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       Case 2:24-cv-00157-LA         Filed 02/05/24     Page 66 of 85     Document 1
       201.    Additionally, prices for outpatient procedures are significantly higher at AAH’s

flagship facility in Milwaukee than competitors. This includes substantially higher prices than

independent outpatient providers and extends even to its large hospital peers, where AAH’s prices

for outpatient services average over 22% higher than other large hospitals. These outpatient prices

in Milwaukee relative to other providers can only be explained by AAH’s abuse of its systemwide

market power in its monopoly power in other markets to control outpatient prices in Milwaukee.

Without the vertical restraints that AAH uses to leverage its market power systemwide, AAH

would not be able to maintain these supracompetitive outpatient prices.

       202.    For example, AAH’s price for a colonoscopy with biopsy—an extremely common

and uncomplicated procedure—is over $10,700 for a common commercial health plan and its

members whereas the procedure costs only about $4,700 at Froedtert & the Medical College of

Wisconsin for the same plan, a facility that is about 15 minutes away and has generally higher

quality and safety ratings. Prices for a routine procedure that are more than double a nearby

competitor cannot be explained absent AAH’s restraints on competition.
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        Case 2:24-cv-00157-LA         Filed 02/05/24     Page 67 of 85       Document 1
       203.    A CT scan of the head or brain is one of the procedures that drives a large portion

of hospital imaging revenue. It is also a procedure that academic literature considers “plausibly

undifferentiated” because “there is little variation in how these services are delivered across

hospitals or across patients within a hospital.” Thus, academic literature considers “plausibly

undifferentiated” procedures like CT scans a useful way to compare hospital prices, because any

price differential is likely explained by market power and/or anticompetitive restraints rather than

quality. While there is no differentiation as to the quality of a CT scan performed at AAH versus

a competitor, AAH does find a way to differentiate as to price: Its price is over $300 more than

nearby Froedtert & the Medical College of Wisconsin.




                                                 65

        Case 2:24-cv-00157-LA         Filed 02/05/24      Page 68 of 85      Document 1
       204.    Another important way to compare prices is by looking at low-cost but extremely

high-volume procedures like routine blood tests. On this count, AAH’s prices are egregious, with

a commercial health plan and its members paying more than double the price at AAH compared

to the nearby Froedtert & the Medical College of Wisconsin. Because these tests are conducted

hundreds of times a day at AAH, the impact of such dramatically supracompetitive prices on

commercial health plans and their members is substantial.




       205.    Since 2015, healthcare prices in Milwaukee have risen at the fifth highest rate in

the entire country. AAH’s high and rising prices driven by anticompetitive behavior are a major

contributor to this increasing financial burden on Milwaukee employers and families.

      C.      AAH Charges Supracompetitive Prices in Green Bay.

       206.    AAH also charges supracompetitive prices for inpatient and outpatient procedures

in Green Bay despite facing some ostensible competition from three other non-AAH hospitals. As

a result, Green Bay is one of the top five metro areas in the entire country for the price of medical

professional services relative to Medicare.

       207.    As to inpatient care, AAH’s Aurora Baycare Medical Center has dramatically

higher prices than nearby facilities according to data published in May 2022. Its average inpatient


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        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 69 of 85      Document 1
prices are almost 328% of the Medicare rates while the other three hospitals in Green Bay are only

223%, 256%, and 299%.

        208.     As to outpatient care, AAH’s average prices across all outpatient procedures are

even more inflated, registering at 350% of Medicare. All three other hospitals have lower prices

than AAH, with an average markup over Medicare of 311%. These outpatient prices relative to

other providers can only be explained by AAH’s abuse of its market power in other parts of

Wisconsin to control prices in Green Bay and by AAH’s contracting practices.

        209.     These high prices are despite AAH’s Baycare Medical Center having lower quality

ratings from the federal government’s Centers for Medicare & Medicaid Services and lower safety

ratings from the independent ratings agency Leapfrog than the next two nearest competitor

hospitals.

      D.        AAH Charges Supracompetitive Prices Throughout Wisconsin.

        210.     AAH’s supracompetitive prices facilitated by anticompetitive conduct extend to

every area where AAH operates.

        211.     For example, in Oshkosh AAH’s price for an angioplasty is about double that of

the two nearest hospitals, one of which is less than 2 miles away. Similarly, AAH’s price for joint

replacement is 60% higher than the two nearest inpatient competitors.

        212.     In Kenosha, AAH’s price for a joint replacement is over $15,000 higher than a

Froedtert facility that is less than 7 miles away. Similarly, the price for an angioplasty is nearly

$7,000 higher. Overall, the weighted average price (which accounts for differences in acuity) for

an inpatient service is $42,167 for AAH’s Kenosha facility versus $32,099 at the nearby Froedtert

facility.




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            Case 2:24-cv-00157-LA      Filed 02/05/24       Page 70 of 85       Document 1
       213.    In Sheboygan, AAH’s prices for outpatient procedures are extremely inflated:

AAH’s prices are 358% of Medicare compared to the nearest competitor with prices of 308% of

Medicare.

       214.    In Oconomowoc where AAH opened Aurora Summit Medical Center four miles

away from the existing Oconomowoc Memorial Hospital, AAH’s prices for inpatient services

average 446% of Medicare compared to only 297% of Medicare at Oconomowoc Memorial

Hospital. Overall, the weighted average price (which accounts for differences in acuity) for an

inpatient service is $44,411 for AAH’s Oconomowoc facility versus $23,104 at the nearby

Oconomowoc Memorial Hospital, a remarkable 92% higher.

       215.    In Marinette, AAH’s inpatient and outpatient prices are substantially above the state

average and substantially higher than the next nearest non-AAH hospital.

       216.    As reflected in specific procedures outlined above and in an analysis of aggregate

data, AAH’s prices for outpatient procedures overall are substantially more expensive than the

Wisconsin and national averages.

       217.    A major Wisconsin insurer and Network Vendor stated in 2006 that “Aurora is a

high-price healthcare provider relative to other providers.” Since then, AAH’s prices have

increased substantially, both as an absolute matter and as compared to its competitors.

      E.      AAH Raised Prices In Illinois Substantially After the Merger.

       218.    After the merger of Advocate and Aurora to form AAH, the combined system

substantially raised prices in Illinois. This occurred both in the areas previously serviced primarily

by Advocate as well as in the areas near the Wisconsin border where Aurora had previously

operated.

       219.    Two sets of data from the highly respected, independent RAND Corporation

indicate the substantial price increases AAH imposed as a result of the merger: During the period

                                                  68

        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 71 of 85       Document 1
 of 2016-2018 (almost entirely before the merger was finalized in April 2018), what were then the

 Advocate hospitals in Illinois had average commercial prices (both inpatient and outpatient) of

 231% of Medicare. During the period of 2018-2020 (primarily after the merger), the same hospitals

 in Illinois, now owned by AAH, had average commercial prices of 253% of Medicare. This

 substantial increase in prices was on an absolute level, relative to competitors, and compared to

 the well-accepted baseline of Medicare.

        220.    The combined power of the two systems gave the merged entity even more ability

 to continue Aurora’s longstanding practice of imposing the anticompetitive contracting restraints

 and referral restrictions described above that increase prices for commercial health plans and their

 members in Illinois, Michigan, and Wisconsin.

IX.    CLASS ALLEGATIONS

       A.      Class Definition

        221.    Plaintiffs define the putative class in this litigation as follows:

        Citizens of Illinois, Michigan, and/or Wisconsin for purposes of 28 U.S.C. §1332
        who were members of commercial health plans that, during the past six years (the
        “Class Period”), compensated AAH for general acute care hospital services or
        ancillary products at an AAH facility in the Relevant Geographic Markets during
        any period that AAH employed All-or- Nothing, All-Plans, Anti-Steering, Anti-
        Tiering, Non-Competes, Gag Clauses, and/or other vertical restraints in one or more
        agreements or negotiations with insurance companies.

        222.    The Class is ascertainable because it is defined to include only members of

 commercial health plans that are entities within the Relevant Geographic Markets that caused at

 least one individual claim for acute hospital services or ancillary products to be paid to AAH during

 the Class Period.

        223.    Excluded from the Class are AAH and its officers, directors, management,

 employees, subsidiaries, or affiliates, the Presiding Judge, employees of this Court, and any



                                                    69

         Case 2:24-cv-00157-LA          Filed 02/05/24       Page 72 of 85        Document 1
appellate judges exercising jurisdiction over these claims as well as employees of that appellate

court(s).

      B.       Certification Requirements

        224.      Plaintiffs do not yet know the exact size of the Class; however, based upon the

nature of the industry involved, Plaintiffs believe that there are at least tens of thousands of Class

members. Therefore, Class members are so numerous and geographically dispersed that joinder is

ultimately impracticable.

        225.      Because AAH has acted in a generally consistent manner applicable to the Class

writ large, questions of law and fact common to the Class exist as to all members of the class and

predominate over any questions affecting only individual members of the class. The common

questions include, but are not limited to:

        a.        Whether Defendants have a monopoly in the AAH Monopolized Inpatient Markets;

        b.        Whether Defendants have acted willfully or otherwise unlawfully in attempting to

        acquire, maintain, or abuse its monopoly;

        c.        Whether AAH implemented contract provisions that unreasonably restrain trade by

        imposing All-or-Nothing, All-Plans, Anti-Steering, Anti-Tiering, Non-Competes, Gag

        Clauses, and/or other conduct that foreclosed competition in the relevant markets;

        d.        Whether AAH’s vertical restraints enable it to charge unlawful supracompetitive

        prices;

        e.        Whether AAH’s ongoing conduct continues to restrain trade and reinforce its

        market power;

        f.        Whether AAH’s anticompetitive conduct results in the foreclosure and/or

        substantial lessening of competition;

        g.        Whether AAH’s conduct violates 15 U.S.C. §§ 1-2 (“the Sherman Act”); and

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        Case 2:24-cv-00157-LA           Filed 02/05/24     Page 73 of 85       Document 1
       h.      Whether AAH’s conduct violates Wis. Stat. § 133.01, et seq.

       226.    Plaintiffs’ claims are typical of the claims of the other Class members. Plaintiffs

and the other Class members have been injured by the same wrongful practices. Plaintiffs’ claims

arise from the same practices and course of conduct that give rise to the other Class members’

claims and are based on the same legal theories.

       227.    Plaintiffs will adequately represent the interest of all Class members. Plaintiffs have

retained class counsel who are experienced and qualified in prosecuting such class action cases.

Neither Plaintiffs nor class counsel have any interests in conflict with those of the Class members.

       228.    This class action is appropriate for certification because questions of law and fact

common to the members of the Class predominate over questions affect only individual members,

and a class action is superior to other available methods for the fair and efficient adjudication of

the controversy. Individual joinder of all members of the class is impracticable and class treatment

will permit a large number of similarly situated members of commercial health plans to prosecute

their claims in a single forum simultaneously, efficiently, and without the unnecessary duplication

of evidence, effort, and expense that numerous individual actions would produce.

       229.    Furthermore, the prosecution of the claims of the Class in part for injunctive relief

is appropriate because AAH has acted, or refused to act, on grounds that apply generally to the

class, such that final injunctive relief or corresponding declaratory relief is appropriate respecting

the Class as a whole.




                                                   71

        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 74 of 85       Document 1
X.     CLAIMS FOR RELIEF
                                 COUNT ONE
            RESTRAINT OF TRADE IN VIOLATION OF THE SHERMAN ACT
                                (15 U.S.C. § 1)

        230.    The above-alleged paragraphs are incorporated by reference.

        231.    Defendant AAH entered into and continues to enter into anticompetitive contracts

 with insurance companies and is engaging in unreasonable restraints of trade in violation of Section

 1 of the Sherman Act, 15 U.S.C. § 1.

        232.    AAH hospitals located in the AAH-dominated markets have overwhelming market

 power in each of their AAH Monopolized Inpatient Markets. Moreover, AAH writ large has

 systemwide power that gives it market power over its entire service area. That market power has

 enabled AAH to impose anticompetitive vertical restraints such as all-or-nothing, all-plans, anti-

 steering, anti-tiering, non-competes, and gag clauses in written agreements and/or in contract

 negotiations with insurance companies.

        233.    AAH has imposed these vertical restraints in its negotiations with all or nearly all

 insurance companies it negotiates with in Wisconsin, as well as all or nearly all commercial health

 plans that use networks that contain AAH facilities.

        234.    By compelling insurance companies to agree to these anticompetitive terms, AAH

 unlawfully restrains trade and the limits the ability of competitors to compete in the Relevant

 Geographic Markets for general acute care hospital services and ancillary products. The

 anticompetitive effects of AAH’s conduct far outweigh any purported non-pretextual, pro-

 competitive justifications.

        235.    These vertical restraints, together and individually, have foreclosed a substantial

 amount of competition. Because AAH imposes them on all or nearly all insurance companies and

 commercial health plans, these anticompetitive contracting terms have affected competition as a

 whole in the relevant markets.
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         Case 2:24-cv-00157-LA          Filed 02/05/24     Page 75 of 85       Document 1
       236.    As a proximate result of AAH’s unlawful conduct, Plaintiffs and members of the

Class have paid supracompetitive prices to AAH in the form of out-of-pocket expenses, prices that

are higher than they would have been absent AAH’s anticompetitive conduct. Plaintiffs and

members of the Class have also had to pay higher premiums to their health plans as a result of

AAH’s anticompetitive conduct.

       237.    Thus, Plaintiffs and members of the Class have been injured in violation of the

Sherman Act, having been subjected to and paying supracompetitive pricing to AAH for acute

general care hospital services and ancillary products during the Class Period and paying higher

premiums to their health plans as a result of AAH’s anticompetitive conduct. Such damages are

the type of injury that the antitrust laws were explicitly designed to prevent, and they are a direct

result of Defendant’s unlawful conduct. Under 15 U.S.C. § 1 and 15 U.S.C. § 15, Plaintiffs and

the members of the Class have standing to and do hereby seek injunctive relief, together with other

declaratory and equitable relief, as well as attorneys’ fees and costs, but do not seek damages for

this claim.

                                    COUNT TWO
                          MONOPOLIZATION IN VIOLATION OF
                                THE SHERMAN ACT
                                   (15 U.S.C. § 2)

       238.    The above-alleged paragraphs are incorporated by reference.

       239.    Section 2 of the Sherman Act makes it unlawful for any person to “monopolize, or

attempt to monopolize, or combine or conspire with any other person or persons, to monopolize

any part of the trade or commerce among the several States.” It is also unlawful to willfully

maintain or abuse monopoly power.

       240.    Defendants have monopolized, and continue to monopolize, the AAH Monopolized

Inpatient Markets alleged herein in violation of 15 U.S.C. § 2. During the pertinent times,

Defendants engaged in the willful and unlawful attempt to maintain and abuse their monopoly
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        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 76 of 85      Document 1
power. They did so by using their market power in those geographies to impose on insurance

companies and commercial health plans anticompetitive vertical restraints, including All-or-

Nothing, All- Plans, Anti-Steering, Anti-Tiering, Non-Competes, Referral Restrictions, and/or

Gag Clauses.

       241.    These vertical restraints have had the direct effect of inhibiting competition from

existing and/or would-be competitors that would compete with AAH on price and quality.

       242.    These restraints have also allowed AAH to leverage its monopoly power over the

AAH Monopolized Inpatient Markets to extract supracompetitive prices in the other geographies

in which it operates.

       243.    Plaintiffs and members of the Class have been harmed by AAH’s abuse, willful

maintenance, and leveraging of its monopoly power. They have paid higher prices at AAH

facilities in the Relevant Geographic Markets than they would have absent AAH’s unlawful

monopolization, both directly due to the vertical restraints themselves and due to the substantial

lessening of competition the restraints have facilitated. Plaintiffs and members of the Class have

also had to pay higher premiums to their health plans as a result of AAH’s anticompetitive conduct.

       244.    Thus, Plaintiffs and members of the Class have been injured in violation of the

Sherman Act, having been subjected to and paying supracompetitive pricing to AAH for acute

general care hospital services and ancillary products during the Class Period and paying higher

premiums to their health plans as a result of AAH’s anticompetitive conduct. Such damages are

the type of injury that the antitrust laws were explicitly designed to prevent, and they are a direct

result of Defendant’s unlawful conduct. Under 15 U.S.C. § 2 and 15 U.S.C. § 15, Plaintiffs and

the members of the Class have standing to and do hereby seek injunctive relief, together with other

declaratory and equitable relief, as well as attorneys’ fees and costs, but do not seek damages for

this claim.

                                                 74

        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 77 of 85      Document 1
                              COUNT THREE
                 ATTEMPTED MONOPOLIZATION IN VIOLATION OF
                            THE SHERMAN ACT
                               (15 U.S.C. § 2)

       245.    The above-alleged paragraphs are incorporated by reference.

       246.    Section 2 of the Sherman Act makes it unlawful for any person to “monopolize, or

attempt to monopolize, or combine or conspire with any other person or persons, to monopolize

any part of the trade or commerce among the several States.”

       247.    During the pertinent times, AAH engaged in the willful and unlawful attempt to

maintain or expand its monopoly power. Specifically, AAH attempted to monopolize the market

for acute inpatient hospital care in the Oconomowoc HSA.

       248.    During the pertinent times, AAH attempted to acquire or expand its monopoly

through illegitimate means, including but not limited to through tying and unlawful restraints such

as All-or-Nothing, All-Plans, Anti-Steering, Anti-Tiering, Non-Competes, Referral Restrictions,

and/or Gag Clauses.

       249.    One motivation AAH had in imposing these restraints was its intent to monopolize

the market for acute inpatient hospital care in the Oconomowoc HSA.

       250.    There is a dangerous probability that AAH will be successful in its attempt to

monopolize that market.

       251.    Plaintiffs and members of the Class have been injured by AAH’s use of these

vertical restraints and would be further injured if AAH is successful in monopolizing the

Oconomowoc HSA.

       252.    Under 15 U.S.C. § 2 and 15 U.S.C. § 15, Plaintiffs and the members of the Class

have standing to and do hereby seek injunctive relief, together with other declaratory and equitable

relief, as well as attorneys’ fees and costs, but do not seek damages for this claim.


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        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 78 of 85       Document 1
                             COUNT FOUR
     RESTRAINT OF TRADE IN VIOLATION OF WISCONSIN ANTITRUST LAW
                          (Wis. Stat. § 133.03(1))

       253.    The above-alleged paragraphs are incorporated by reference.

       254.    Defendant AAH entered into and continues to enter into anticompetitive contracts

with insurance companies and is engaging in a conspiracy in unreasonable restraint of trade in

violation of the Wis. Stat. § 133.03(1).

       255.    AAH hospitals located in the AAH-dominated markets have overwhelming market

power in each of their AAH Monopolized Inpatient Markets. Moreover, AAH writ large has

systemwide power that gives it market power over its entire service area. That market power has

enabled AAH to impose anticompetitive vertical restraints such as All-or-Nothing, All-Plans, Anti-

Steering, Anti-Tiering, Non-Competes, and Gag Clauses in written agreements and/or in contract

negotiations with insurance companies.

       256.    AAH has imposed these vertical restraints in its negotiations with all or nearly all

insurance companies it negotiates with in Wisconsin, as well as all or nearly all commercial health

plans that use networks that contain AAH facilities.

       257.    By compelling insurance companies to agree to these anticompetitive terms, AAH

unlawfully restrains trade and the limits the ability of competitors to compete in the Relevant

Geographic Markets for general acute care hospital services and ancillary products. The

anticompetitive effects of AAH’s conduct far outweigh any purported non-pretextual, pro-

competitive justifications.

       258.    These vertical restraints, together and individually, have foreclosed a substantial

amount of competition. Because AAH imposes them on all or nearly all insurance companies and

commercial health plans, these anticompetitive contracting terms have affected competition as a

whole in the relevant markets.

                                                76

        Case 2:24-cv-00157-LA          Filed 02/05/24    Page 79 of 85       Document 1
       259.    As a proximate result of AAH’s unlawful conduct, Plaintiffs and members of the

Class have been injured in violation of Wis. Stat. § 133.03(1), having been subjected to and paying

supracompetitive pricing for acute general care hospital services and ancillary products during the

Class Period and paying higher premiums to their health plans as a result of AAH’s anticompetitive

conduct. Such damages are the type of injury that the antitrust laws were explicitly designed to

prevent and they are a direct result of Defendants’ unlawful conduct. Under Wis. Stat. § 133.18,

Plaintiffs and the members of the Class have standing to and do hereby seek monetary relief—

including treble damages—for harm suffered during the last six years, together with injunctive,

declaratory, and other equitable relief, as well as attorneys’ fees and costs.

                             COUNT FIVE
       MONOPOLIZATION IN VIOLATION OF WISCONSIN ANTITRUST LAW
                          (Wis. Stat. § 133.03(2))

       260.    The above-alleged paragraphs are incorporated by reference.

       261.    Wis. Stat. § 133.03(2) makes it unlawful for any person to “monopolize[] . . . any

part of trade or commerce.” Like its federal counterpart, 15 U.S.C. § 2, Wis. Stat. § 133.03(2) also

prohibits the acquisition, willful maintenance, abuse, and leveraging of monopoly power.

       262.    Defendant has monopolized, and continues to monopolize, the AAH Monopolized

Inpatient Markets alleged herein in violation of Wis. Stat. § 133.03(2). During the pertinent times,

Defendant engaged in the willful and unlawful attempt to maintain and abuse its monopoly power.

It did so by using its market power in those geographies to impose on insurance companies and

commercial health plans anticompetitive vertical restraints, including All-or-Nothing, All- Plans,

Anti-Steering, Anti-Tiering, Non-Competes, Referral Restrictions, and/or Gag Clauses.

       263.    These vertical restraints have had the direct effect of inhibiting competition from

existing and/or would-be competitors that would compete with AAH on price and quality.



                                                  77

        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 80 of 85         Document 1
       264.    These restraints have also allowed AAH to leverage its monopoly power over the

AAH Monopolized Inpatient Markets to extract supracompetitive prices in the other geographies

in which it operates.

       265.    Plaintiffs and members of the Class have been harmed by AAH’s abuse, willful

maintenance, and leveraging of its monopoly power. They have paid higher prices at AAH

facilities in the Relevant Geographic Markets (in the form of out-of-pocket expenses) than they

would have absent AAH’s unlawful monopolization, both directly due to the vertical restraints

themselves and due to the substantial lessening of competition the restraints have facilitated.

Plaintiffs and members of the Class have also had to pay higher premiums to their health plans as

a result of AAH’s anticompetitive conduct, primarily because commercial insurance companies

directly pass on higher prices charged by hospitals to individuals and employers through rising

premiums, deductibles, and copays. As one Harvard University analysis concluded: “Variation in

spending in the commercial insurance market is due mainly to differences in price markups by

providers rather than to differences in the utilization of health care services . . . . 70 percent of

variation in total commercial spending is attributable to price markups, most likely reflecting the

varying market power of providers.” And the federal Government’s official guide for purchasing

individual health insurance indicates that “differences in competition” are one of the primary

drivers of variation in insurance premiums.

       266.    Thus, Plaintiffs and members of the Class have been injured under Wis. Stat.

§ 133.03(2), having been subjected to and paying supracompetitive pricing to AAH for acute

general care hospital services and ancillary products during the Class Period and paying higher

premiums to their health plans as a result of AAH’s anticompetitive conduct. A significant body

of economic literature demonstrates that when hospital systems such as AAH charge

supracompetitive prices to commercial health plans, those health plans pass all or most of those

                                                 78

        Case 2:24-cv-00157-LA          Filed 02/05/24      Page 81 of 85      Document 1
overcharges to insured members (such as Plaintiffs) through higher premiums. The extent to which

commercial health plans passed on these overcharges to Plaintiffs and the putative class is readily

ascertainable through established methodologies that have been accepted by other courts. And

because no other person could recover for these payments, there is no risk of double recovery.

        267.    Furthermore, such damages are the type of injury that the antitrust laws were

explicitly designed to prevent, and they are a direct result of Defendants’ unlawful conduct. Under

Wis. Stat. § 133.18, Plaintiffs and the members of the Class have standing to and do hereby seek

monetary relief—including treble damages—for harm suffered during the last six years, together

with injunctive, declaratory, and other equitable relief, as well as attorneys’ fees and costs.

                           COUNT SIX
ATTEMPTED MONOPOLIZATION IN VIOLATION OF WISCONSIN ANTITRUST LAW
                       (Wis. Stat. § 133.03(2))

        268.    The above-alleged paragraphs are incorporated by reference.

        269.    Wis. Stat. § 133.03(2) makes it unlawful for any person to “attempt[] to monopolize

. . . any part of trade or commerce . . . .”

        270.    During the pertinent times, AAH engaged in the willful and unlawful attempt to

maintain or expand its monopoly power. Specifically, AAH attempted to monopolize the market

for acute inpatient hospital care in the Oconomowoc HSA.

        271.    During the pertinent times, AAH attempted to acquire or expand its monopoly

through illegitimate means, including but not limited to through tying and unlawful restraints such

as All-or-Nothing, All-Plans, Anti-Steering, Anti-Tiering, Non-Competes, Referral Restrictions,

and/or Gag Clauses.

        272.    One motivation AAH had in imposing these restraints was its intent to monopolize

the market for acute inpatient hospital care in the Oconomowoc HSA.



                                                  79

        Case 2:24-cv-00157-LA            Filed 02/05/24    Page 82 of 85       Document 1
       273.       There is a dangerous probability that AAH will be successful in its attempt to

monopolize that market.

       274.       Plaintiffs and members of the Class have been injured by AAH’s use of these

vertical restraints and would be further injured if AAH is successful in monopolizing the

Oconomowoc HSA.

       275.       Under Wis. Stat. § 133.18, Plaintiffs and the members of the Class have standing

to and do hereby seek monetary relief—including treble damages—for harm suffered during the

last six years, together with injunctive, declaratory, and other equitable relief, as well as attorneys’

fees and costs.

                                    COUNT SEVEN
                     INJUNCTIVE, EQUITABLE, DECLARATORY RELIEF

       276. The above-alleged paragraphs are incorporated by reference.

       277. The Court has authority to award injunctive relief pursuant to 15 U.S.C. § 26, Wis. Stat.

§ 133.16(a), and the Court’s inherent authority.

       278. The Court has authority to award declaratory relief under 28 U.S.C. § 2201 and Wis.

Stat. § 133.16(a).

       279. Plaintiffs plead that to the extent the facts and law allow for the imposition of

equitable, declaratory, or injunctive remedies, they plead recourse to any and all such remedies.

       280. Plaintiffs request the Court order the reformation of AAH’s practices, and/or

contractual and agreement terms, including, for example express language against use of the use

of All-or-Nothing, All-Plans, Anti-Steering, Anti-Tiering, Non-Competes, and Gag Clauses.

       281. Plaintiffs and the Class members have standing to and do seek equitable relief against

AAH, including an injunction to prohibit AAH’s illegal conduct as well as an order of equitable

restitution and disgorgement of the monetary gains AAH obtained from its unfair competition to

the extent such a remedy be allowed by law.
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        Case 2:24-cv-00157-LA           Filed 02/05/24      Page 83 of 85        Document 1
XI.    JURY DEMAND

       282.     Plaintiffs demand a trial by jury.

XII.   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that this Court enter judgment on their behalf, and on behalf

of those similarly situated, and adjudge and decree as follows:

        A.      Certify the proposed Class, designate the named Plaintiffs as class representatives
and the undersigned counsel as class counsel, and allow Plaintiffs and the Class to have trial by jury;

        B.       Find that Defendants have unreasonably restrained trade in violation of 15 U.S.C.
§ 1 and Wis. Stat. § 133.03(1) and that Plaintiffs and the Class members have been damaged and
injured as a result of these violations;

       C.       Find that Defendants have monopolized, and continue to monopolize, the relevant
markets alleged herein in violation of 15 U.S.C. § 2 and Wis. Stat. § 133.03(2) and that Plaintiffs
and the Class members have been damaged and injured as a result of these violations;

        D.       Find that Defendants engaged in a trust, contract, combination, or conspiracy in
violation of 15 U.S.C. § 1 and Wis. Stat. § 133.03 and that Plaintiffs and the Class members have
been damaged and injured as a result of this violation;

        E.        Order under Wis. Stat. § 133.18 that Plaintiffs and members of the class recover
treble threefold the damages determined to have been sustained by them as a result of Defendants’
misconduct complained of herein, and that judgment be entered against Defendants for the amount
so determined;

         F.      Enter judgment against Defendants and in favor of Plaintiffs and the Class awarding
restitution and disgorgement of ill-gotten gains to the extent such an equitable remedy be allowed
by law;

        G.         Award reasonable attorneys’ fees, costs, expenses, prejudgment and post-judgment
interest, to the extent allowable by law;

         H.       Award equitable, injunctive, and declaratory relief, including but not limited to
declaring Defendants’ misconduct unlawful and enjoining them, their officers, directors, agents,
employees, and successors, and all other persons acting or claiming to act on their behalf, directly
or indirectly, from seeking, agreeing to, or enforcing any provision in any agreement that prohibits
or restricts competition in the manner as alleged herein above; and

       I.        Award such other and further relief as the Court may deem just and proper.




                                                     81

            Case 2:24-cv-00157-LA        Filed 02/05/24     Page 84 of 85       Document 1
  Respectfully submitted this 5th day of February, 2024.

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                                                 82

        Case 2:24-cv-00157-LA         Filed 02/05/24       Page 85 of 85   Document 1
